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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:23-MJ-03829 LOUIS

    UNITED STATES OF AMERICA,
                                                                             FILED B'l--+-'~- □ .C.
    v.

    JUAN ANDRES DONATO BAUTISTA,                                                   oec 11 2023
                                                                                     ANGELA E. NOBLE
                                                                                    CLERK U.S. DIST. CT.
                                                                                  S. 0. OF FLA. • FT. LAUD.
            Defendant.
    - - - - - - ~ - - - - - - -I
          HERRING NETWORKS, INC.'S MOTION TO INTERVENE FOR THE LIMITED
         PURPOSE OF UNSEALING THE COURT'S DOCKET AND RELATED RECORDS
                      AND SUPPORTING MEMORANDUM OF LAW

            Herring Networks, Inc. d/b/a One America News Network ("OAN") moves to intervene in

    this matter for the limit,ed purpose of unsealing and obtaining access to the docket and all .

   documents filed under seal with this Court in the above-captioned case. The existence and

   substance of the once-public c~arging documents in this matter - which accuse the Defendant of

   bribery and money laundering in connection with elections in the Philippines involving unnamed

   voting technology companies (purportedly multiple Smartmatic entities, collectively referred to as

   "Smartmatic") - have been widely reported around the world. Indeed, both the Defendant and

   Smartmatic have publicly addressed and acknowledged the charges, which only very recently

   resulted in Smartmatic's disqualification from participation in elections in the Philippines. Given

   the ongoing public interest and concern with election integrity in this country and elsewhere, public

   access and scrutiny of these proceedings is critically important and mandated under the First

   Amendment and applicable common law. Thus, OAN requests that this Court grant its motion to

   intervene, immediately unseal the docket, and otherwise make all records filed in this case

   available for public review.
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                                RELEVANT FACTUAL BACKGROUND

            On September 20, 2023, the United States Department of Homeland Security's Homeland

   . Security Investigations unit ("Homeland Security") filed a criminal cover sheet, complaint and

    supporting probable cause affidavit (collectively the "Complaint") against Defendant Juan Andres

    "Andy" Donato Bautista ("Defendant" or "Bautista") - the former Chairman of the Commission

    on Elections of the Republic of the Philippines ("COMELEC") - in the above-captioned matter.

    When filed, these documents were publicly available and accessed.             Almost immediately,

    however, for reasons currently unknown, the docket and all filings were sealed and thereafter

    blocked entirely from public view.

           The "Criminal Complaint by Telephone or Other Reliable Means" dated September 19,

    2023, and filed the next day (on September 20) accuses the Defendant of various charges under 19

    U.S.C. § 1956, including conspiracy to launder monetary instruments, promotional money

   laundering and concealment money laundering.         See ECF No. I, at 2 (attached as Composite

   Exhibit A to this motion).

           Based on its investigation, Homeland Security asserts that Bautista "received and

   attempted to receive bribes ... in exchange for using his position as Chairman of COMELEC to

   assist" several unnamed entities to obtain "lucrative election voting machine and related services

   •contracts with COMELEC for the 2016 Philippine elections." Id. at p. 12 ,r,r 36-37. The

   investigation also focused on Bautista's alleged "acts to launder his bribe proceeds related to the

   scheme." Id. at ,r 36.

           According to the Complaint, Bautista's co-conspirators include "an election voting

   machine and service provider company," its parent, subsidiaries, joint venturers, and several of

   their agents, who allegedly used "slush funds" and "fake contracts" to facilitate the alleged bribes,



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    while covering their actions using personal email accounts and messaging applications. See id. at

    ,r,r 18-21, 23-26, 44, 48, 51, 53. "In or around the later part of 2015 and into 2016," one of these
    companies "won bids for three contracts worth a total approximate value of one hundred ninety-

    nine million dollars {$199,000,000) to supply COMELEC with voting machines and related

    services for the [Philippines'] May 2016 elections for President, Vice-President, and other official

    positions." Id. at ,r 22.

            Although the Complaint does not name the entities involved in the alleged scheme,

    numerous reports confirm the involvement of Smartmatic (comprising Smartmatic USA Corp.,

    Smartmatic International Holdings B.V., and/or SGO Corporation Limited), given that Bautista is

    reported to have "awarded $199 million in contracts to Smartmatic for about 94,000 voting

   machines and to handle the results of the Philippines' presidential election in 2016." See Marshall

    Cohen, Smartmatic Implicated In Alleged Bribery Scheme Involving Top Filipino Election Official,

   CNN (Sept. 22, 2023), https://www.cnn.com/2023/09/22/business/smartmatic-bribery-scheme-

   indictment/index.html ("CNN Article"); see also ANC 24/7, COMELEC Asks U.S. Gov't For

   More Information On Bautista 's Case, YouTube (Oct. 4, 2023), https://www.youtube.com/watch

   ?v=Iv-Abl ds0O&ab channel=ANC24%2F7.

            Indeed, due in part to the filing of the Complaint, COMELEC has disqualified Smartmatic

   from all procurements. See In the Matter ofthe Petition to Review the Qualifications ofSmartmatic

   Philippines, Inc. as a Prospective Bidder, E.M. No. 23-003, at 13-14 (COMELEC Nov. 29, 2023)

   (Phil.) (the "COMELEC Resolution," attached as Exhibit B to this motion); see also Hana Bordey,

   Smartmatic Disqualified From Comelec Procurements - Garcia, GMA News Online (Nov. 29,

   2023),     https://www.gmanetwork.com/news/topstories/nation/889875/smartmatic-disgualified-

   from-comelec-procurements-garcia/story/ ("Smartmatic, the service provider[,] was disqualified



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       due to the bribery allegations against former Comelec chairperson Juan Andres 'Andy' Bautista

       'in exchange for awarding a contract for election machines to Smartmatic Corp."'); CNN

       Philippines, Smartmatic Disqualified From Comelec Procurements, YouTube (Nov. 29, 2023),

       https://www .youtube.com/watch?v=gL6Ozwa VOp8&ab channel=CNNPhilippines.

               Shortly after the Complaint was filed, Defendant Bautista himself took to the social media

       platform "X" (formerly known as Twitter) on September 21, 2023, to express how "surprised" he

       was "to learn about a complaint filed against [him]" related to allegations concerning "bribe money

   from Smartmatic or any other entity." See Bautista's Tweets, true and correct copies of which are

       attached as Exhibit C (the "Tweets") (emphasis added). 1

              Smartmatic also acknowledged its involvement in the case through spokesperson Samira

       Saba, who reportedly denied that Smartmatic had ever won "a project through any illegal means"

       and asserted that the charges against Bautista are "not related to Smartmatic election security or

   integrity." See CNN Article; see also Victoria Tulad, Smartmatic Calls Disqualification Against

   Them In Future Elections 'Unfair', ABS-CBN News (Nov. 30, 2023), https://news.abs-

   cbn.com/news/11/30/23/smartmatic-calls-disgualification-against-them-unfair           (An     official

   statement issued by Smartmatic acknowledges the accusations against it regarding the COMELEC

   contracts, claiming the allegations to be "absolutely false"); Press Release, Smartmatic, Statement

   Smartmatic (Nov. 29, 2023) (attached as Exhibit D to this motion) (noting the company's

   "profound disappointment in the decisions made by [COMELEC] to disqualify Smartmatic from

   bidding on the 2025 contract for election technology"). 2


   1
        Also available at https://twitter.com/ChairAndyBau/status/1704999025500385560?s=20.
   2
      Smartmatic has also been entangled in highly publicized controversies concerning its
   involvement in the U.S. 2020 elections. For example, it has filed a litany of defamation lawsuits
   against various media entities, including OAN, and other individuals based on allegations that they
   falsely reported that Smartmatic was involved in a plot to rig the presidential election against
                                                      4



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           Although the Complaint was initially available, the entire docket and court records related

    to this case have since been sealed. Such so-called "super sealing" deprives the public of all

    information concerning the case, including the course and status of the proceedings, whether and

    to what extent there have been additional filings, and the reasons justifying this extraordinary

    confidentiality in a criminal case. As discussed below, such wholesale secrecy is unconstitutional

   and impermissible.

                                             DISCUSSION

   I.      OAN Has Standing to Intervene.

           The Eleventh Circuit has repeatedly recogni~ed the news media's right to intervene in

   matt~rs to challenge the denial of access to court proceedings and records. See, e.g., United States

   v. Ellis, 90 F.3d 447,449 (11th Cir. 1996), cert. denied, 519 U.S. 1118 (1997); United States v.

   Valenti, 987 F.2d 708, 711 (11th Cir. 1993) cert. denied, 510 U.S. 907 (1993); Newman v.

   Graddick, 696 F.2d 796, 800 (11th Cir. 1983). Only through intervention can the public's right

   to open courts and records be vindicated. Newman, 696 F.2d at 800.

          There is no question that OAN has standing to intervene for access. OAN is a news

   organization that focuses on national political affairs and produces original video and written news

   content. It also maintains a news website at www.oann.com. It uses public records, including

   court records, as important newsgathering sources. Accordingly, OAN should be permitted to




  Donald Trump. See Smartmatic USA Corp. v. Newsmax Media Inc., No. N21 C-11-028-EMD (Del.
  Super. Ct.); Smartmatic USA Corp. v. Herring Networks, Inc., No. 1:21-cv-02900 (CJN) (D.D.C.);
  Smartmatic USA Corp. v. Fox Corp., No. 2022-01291 (N.Y. Sup. Ct.); Smartmatic USA Corp. v.
  Lindell, No. 22-cv-0098 (WMW/JFD) (D. Minn.); Smartmatic USA Corp. v. Powell, No. l:21-cv-
  02995 (CJN) (D.D.C.); Smartmatic USA Corp. v. Montgomery, No.: 2:23-MC-5-JLB-KCD (M.D.
  Fla.).
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    intervene for the limited purpose of asserting the public's right of access to the court records and

    proceedings in this matter.

    II.    This Court Should Unseal the Docket.

           As discussed below, the public is entitled access to criminal court dockets except in the

    rarest of circumstances. Here, there •is simply no justification for constraining the press and

    public's First Amendment rights because, among many other reasons, the facts and allegations of

    the criminal complaint against Defendant Bautista have been widely reported. Accordingly, the

    docket should immediately be unsealed.

           A. A Constitutional Right Of Access Attaches To Criminal Court Dockets.

           The U.S. Supreme Court has consistently recognized that the public and press have a

   presumptive First Amendment right of access to judicial proceedings in criminal cases. Richmond

   Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 (1980). Though the right of access to criminal

   trials is not "explicitly mentioned in terms in the First Amendment," the Supreme Court has "long

   eschewed any 'narrow, literal conception' of the Amendment's terms." Globe Newspaper Co. v.

   Super. Ct., 457 U.S. 596, 604 (1982).       This right has been extendeq both to criminal trial

   proceedings and certain court records. See, e.g., Press-Enterprise Co. v. Superior Court of

   California, 478 U.S. 1, 10, 13 (1986) ("Press-Enterprise II") (right of access to preliminary

   hearings); Press-Enterprise Co. v. Superior Court of California, 464 U.S. 501, 505 (1984) (right

   of access to voir dire); Associated Press v. United States District Court, 705 F .2d 1143, 1145 (9th

   Cir. 1983) (right of access to court records and transcripts). Further, this constitutional right

   attaches to records that have been historically available to the public and whose disclosure

   advances the functioning of the judicial system. Press-Enterprise II, 478 U.S. at 8-9.      As the

   Supreme Court has explained:



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            [T]he historical evidence demonstrates conclusively that at the time when our
            organic laws were adopted, criminal trials both here and in England had long been
            presumptively open. This is no quirk of history; rather, it has long been recognized
            as an indispensible attribute of an Anglo-American trial.

    Richmond Newspapers, 448 U.S. at 569 (emphasis added).

            This collective commitment to transparency is rooted in the recognition that "the means

    used to achieve justice must have the support derived from public acceptance of both the process

    and its results." Id. at 571. In other words, "[p]eople in an open society do not demand infallibility

    from their institutions, but it is difficult for them to accept what they are prohibited from

    observing." Id. at 572. In contrast, "[w]hen a criminal trial is conducted in the open, there is at

   least an opportunity both for understanding the system in general and its workings in a particular

   case[.]" Id. This historic expectation, and right, of public access to criminal trials is not merely a

   matter of tradition; it is also "implicit in the guarantees of the First Amendment," id. at 580,

   because without the freedom to attend criminal trials, ''which people have exercised for centuries,

   important aspects of freedom of speech and of the press could be eviscerated." Id.

           Within this context, the Eleventh Circuit has ruled - in no uncertain terms - that secret

   dockets are unconstitutional under th~ First Amendment. See Valenti, 987 F.2d at 715 ("[T]he
                                           '

   Middle District's maintenance of a dual-docketing system is an unconstituti~nal infringement on

   the public and press's qualified right of access to criminal proceedings."). In a subsequent case,

   the court acknowledged that docket sheets are of inherent public interest and "are essential to

   provide 'meaningful access' to criminal proceedings." United States v. Ochoa-Vasquez, 428 F.3d

   1015, 1029 (11th Cir. 2005) cert. denied, 549 U.S. 592 (2006) (quoting Valenti, 987 F.2d at 715).

   Specifically, the court explained:

          The docket sheet forms an integral part of a criminal proceeding, acting as both an
          index and a publication. See Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 93-
          94 (2d Cir. 2004). As an index, the docket catalogues all the proceedings and


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           information taken before a court in that case. It permits both the court and observers
           to locate documents and proceedings that otherwise would be lost within the court's
           vast record collections. See, e.g., Brown v. Lester, 21 Miss. 392, 394 (1850). It also
           allows one to quickly determine the status of a case, the actions of the parties, and
           the determinations of the judge, without requiring the inspection of every item in
           the case file. Id. As a publication, the docket sheet provides the public and press
           with notice of case developments. Hartford Courant Co., 380 F.3d at 93-94. This
           role assumes parlicular importance when the court is considering sealing a
           proceeding or judicial record. Id.; Commonwealth v. Doe, 420 Mass. 142, 648
           N.E.2d 1255, 1260 (Mass. 1995).

    Id. at n.15 (emphasis added). As the Second Circuit has also recognized, "the ability of the public

    and press to attend civil and criminal cases would be merely theoretical if the information provided

    by docket sheets were inaccessible. In this respect, docket sheets provide a kind of index to judicial

   proceedings and documents, and endow the public and press with the capacity to exercise their

   rights guaranteed by the First Amendment."' Hartford Courant Co., 380 F.3d at 93.

           B. The Government Cannot Meet Its Burden to Seal the Docket.

           A party seeking closure - presumably the government here - has a nearly insurmountable

   burden to overcome the presumption of access to a criminal court docket. For the docket to remain

   under seal, this Court must determine, in clearly-articulated findings, that there is a specific,

   compelling interest justifying an ongoing seal that is no broader than necessary to serve that

   interest. See Ochoa-Vasquez, 428 F.3d at 1030 ("When sealing proceedings or documents, a court

   must articulate the overriding interest 'along with findings specific enough that a reviewing court

   can determine whether the closure order was properly entered."'); see also Chicago Tribune Co.

   v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001) ("Where the trial court

   conceals the record of an entire case, making no distinction between those documents that are

   sensitive or privileged and those that are not, it must be shown that 'the denial [of access] is

   necessitated by a compelling governmental interest, and is narrowly tailored to that interest."').




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            Given the function and nature of docket sheets "[a]s a publication ... [that] provides the

    public and press with notice of case developments," it is unlikely that a party could ever meet this

    heightened constitutional burden to justify the blanket sealing of an entire criminal docket. Indeed,

    as the Fourth Circuit observed in discussing the overbreadth of orders sealing a criminal docket

    and court records:

            There are probably many motions and responses thereto that contain no information
            prejudicial to a defendant, and we cannot understand how the docket entry sheet
            could be prejudicial. However, under the terms of the orders entered in these cases,
            this information, harmless as it may be, has also been withheld from the public.

    In re State-Record Co., Inc., 917 F.2d 124, 129 (4th Cir. 1990) (emphasis added).

           Absent a public docket - which generally allows the public to monitor the actions of the

    parties and any issued court orders - the public is left in the dark about this criminal proceeding

    and how it came to be "super-sealed." OAN and the public are therefore unable to determine

   whether any party requested to seal the docket (or any court records), to assess any purported

   interest in maintaining the seal, or to analyze whether any order granting closure meets the

   stringent First Amendment requirements.

           This is particularly true where, as in this case, the information sought to be shielded has

   already been made public. Here, the Complaint, along with Homeland Security's very detailed

   probable cause affidavit, already were made public and have been the subject of extensive

   reporting. Under such circumstances, there is no justification whatsoever for continuing to keep

   these proceedings entirely secret and hidden from public view. At a minimum, the docket should

   be unsealed.

   III.   This Court Should Unseal All Records Filed in This Matter.

          In addition to the constitutional right of access described above - and even where it does

   not apply - "the courts of this country recognize a general right to inspect and copy public records


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     and documents, including judicial records and documents." Nixon v. Warner Commc'ns, 435 U.S.

    589, 597 (1978); see also Chicago Tribune Co., 263 F.3d at 1310-11 (recognizing a common law

    right to access judicial records). 3 In fact, the Eleventh Circuit "has been resolute" in enforcing the

    "presumption of public access" to judicial records because "access to judicial proceedings is

    crucial to our tradition and history, as well as to continued public confidence in our system of

    justice." Callahan v. United Network/or Organ Sharing, 17 F. 4th 1356, 1358-59 (11th Cir. 2021).

    As discussed above, this presumptive right can be overcome only if the government demonstrates

    an overriding interest to justify sealing and such sealing is no more restrictive than required to

    protect that interest. See Nixon, 435 U.S. at 597-98.

            Both rights of access are grounded in the importance of public monitoring of judicial

    proceedings. "[The] right to inspect and copy judicial records .. .like the right to attend judicial

    proceedings, is important if the public is to appreciate fully the often significant events at issue in

    public litigation and the workings of the legal system." Newman, 696 F.2d at 803. Just as with

    open court proceedings, broad public access to filed court records helps ensure ''that the

    proceedings [are being] conducted fairly," while discouraging ''perjury, the misconduct of

    participants, and decisions based on secret bias or partiality." Richmond Newspapers, 448 U.S. at

   569; see also Associated Press, 705 F.2d at 1145 ("there is no reason to distinguish between pretrial

   proceedings and the documents filed in regard to them").



   3 As the Court recently recognized in the matter concerning Donald Trump and the Mar-a-Lago

   search warrant, as a "practical matter" whether one proceeds under the First Amendment right or
   the common law right, the analysis is "materially the same." See ECF No. 80, at 5, Order On
   Motions To Unseal, In Re Sealed Search Warrant, No. 22-mj-8332-BER (S.D. Fla.). Under either
   approach: (1) the party seeking to uphold sealing must articulate an interest in secrecy that
   outweighs the public's interest in access; and (2) and no less restrictive alternatives to sealing are
   available. Se~ id. The Court in that case rejected the government's argument that there was
   sufficient justification for the complete seal of the probable cause affidavit supporting the search
   warrant.
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             Public access further promotes the "public acceptance of both the [judicial] process and its

     results," an "awareness that society's responses to criminal conduct are underway," and the

     "prophylactic aspects of ... community catharsis." Richmond Newspapers, 448 U.S. at 571; Press-

     Enterprise II, 478 U.S. at 9. For these reasons, "[a] presumption of access must be indulged to the

     fullest extent not incompatible with the reasons for closure." Newman, 696 F.2d at 802; see also

     United States v. Rosenthal, 763 F.2d 1291, 1293 (11th Cir. 1985) (recognizing ''presumptive

    common law right to inspect and copy judicial records.")

        A. The Burden To Overcome Public Access Must be Met For Each Sealed Record.

            In order to cut off public access to criminal court records, the party seeking to do so must

    overcome the presumption of access by establishing a compelling interest justifying a seal that is

    no broader than necessary to serve that interest. See Ochoa-Vasquez, 428 F.3d at 1030. A court

    considering a motion to seal court records must articulate the overriding interest along with

    specific findings. Id. Because this analysis must be conducted on a record-by-record basis, the

    Court must consider whether the disclosure of each individual filing in this case would

    compromise the party's asserted interest. See, e.g., id. (assessing several orders sealing specific

    documents and holding that they violated the First Amendment "because no finding was made on

    the record to rebut the presumption of openness.").

           The Local Rules of this Court reinforce these stringent requirements. For instance, the

    Local Rules recognize that "proceedings in the United States District Court are public and Court

    filings are matters of public record." Local Rule 5.4(a). Further, the rule provides that "[a] party

   seeking to make a filing under seal in a criminal case shall . . . [c]onventionally file a motion to

   seal that sets forth the factual and legal basis for departing from the policy that Court filings be

   public and that describes the proposed sealed filing with as much particularity as possible without



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    revealing the confidential information." Local Rule 5.4(c). The rule envisions that any sealing

    must be limited not only in scope, but also duration. Id. ("The motion shall specify the proposed

    duration of the requested sealing.") (emphasis added).

            Even if a party in this case could establish a compelling reason to justify a continued seal

    of any specific records, this Court would still have to consider the proper scope of that seal and

    whether alternatives to total closure exist.     See Newman, 696 F.2d at 802 ("Less intrusive

    alternatives must be considered."). For example, this Court should consider whether the redaction

    of limited information would serve to protect any established compelling interest.

            There can be no justification for the continued seal of the Complaint in this case because it

    has already been made public. As the Fourth Circuit observed in discussing the overbreadth of

    orders sealing criminal court records in In re State-Record Co., Inc., 917 F.2d 124, "[o]verbreadth

    is also obvious from the fact that ... documents filed in the Clerk's Office prior to the date of the

    gag order have been sealed, although their content and substance were made public at the time of

    filing." Id; see also U.S. v. Peterson, 627 F.2d 1359, 1373 (M.D. Ga. 2008) (recognizing that

    ''whether the press has already been permitted substantial access to the contents of the records"

   must be considered in determining whether to allow access to judicial records). Any order

   permitting the previously publicly-available Complaint in this matter to remain sealed necessarily

   would constitute overbreadth.

       B. The Public Interest Is Particularly High and Favors Access.

           Where the public's interest in a particular proceeding is high, that consideration weighs

   heavily in any balance between competing access rights and secrecy concerns. See, e.g., Romero

   v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007) ("In balancing the public interest in

   accessing court documents against a party's interest in keeping the information confidential, courts



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       consider ... whether the information concerns public officials or public concerns .... "); United

       States v. Beckham, 789 F.2d 401,413 (6th Cir. 1986) ("[W]hen the conduct of public officials is

       at issue, the public's interest in the operation of goverpment adds weight in the balance toward

       allowing permission to copy judicial records."); United States v. Edwards, 672 F.2d 1289, 1294

       n.11 (7th Cir. 1982) ("there is a strong presumption in support of the common law right to inspect

       and copy judicial records," particularly where "the trial bore upon the conduct of a public

       official").

               Here, there is no doubt that the public's interest and concern about the conduct and integrity

       of elections is at an all-time high in the wake of the 2020 election and as the country approaches

       another presidential election in 2024. The conduct of voting technology companies such as

       Smartmatic has obviously been forefront in this public debate, and whether and to what extent

    Smartmatic is involved in alleged criminal activity in the United States4 and abroad is directly

    relevant. See supra note 2. As the COMELEC Resolution observes, the allegations in this case,

    which are of "public knowledge," "tend to cause speculation and distrust in integrity of the

    electoral process" and "threaten to erode the public's confidence in the electoral system." Ex. B,

    at 14. Indeed, the Defendant's alleged actions, particularly as to the potential exploitation of his

   position with COMELEC to obtain bribes from entities that are in the business of providing vital

   election technology, along with the Homeland Security's decision to pursue and file a complaint

   against Defendant, are therefore of core public concern.




   4
    The Complaint, for instance, notes that Smartmatic executives and/or agents acted in furtherance
   of the alleged scheme while in Florida, further amplifying the need for U.S. citizens to see the
   docket and documents. ECF No. 1, at ,r,r 19, 24, 50, 57, 65, n.8.
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                                               CONCLUSION

             For the foregoing reasons, the proposed intervenor, OAN, respectfully requests that this

     Court enter an Order granting it leave to intervene in this matter and unsealing the docket and all

     records presently under seal in this matter.

                                       REQUEST FOR HEARING

            Pursuant to Local Rule 7.l(b)(2), the proposed intervenor, OAN, requests an expedited

     hearing be set for this motion. Oral argument will aid this Court in assessing any further basis to

     continue to keep these newsworthy records secret and allow this Court to directly inquire into any

    government justification for doing so. OAN estimates the time required for argument to be thirty

    (30) minutes.

           LOCAL RULE 7.Ha}(3) CERTIFICATE OF GOOD-FAITH CONFERENCE

            Undersigned counsel for OAN (Dana J. McElroy) certifies that on December 8 and 11,

    2023, she attempted to confer via telephone and email with Assistant United States Attorney

    Robert J. Emery concerning the relief sought in this motion. Mr. Emery responded on December

    11th and advised that, as a general matter, the government does not comment on any possible

    matters that are not public and under seal. Additionally, because the case docket currently is

    sealed, counsel is unaware of whether Defendant Bautista is represented by counsel, and if so,

    counsel's identity and/or contact information.

    Dated: December 11, 2023                              Respectfully submitted,

                                                          THOMAS & LOCICERO PL

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                                                      -and-

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                                                      Attorneys for Herring Networks, Inc. d/b/a
                                                      One America News Network




                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that 0n this 11th day of December, 2023, I filed the foregoing

    document with the Clerk of the Court, and served a copy via electronic mail on this same date

    upon:

            Robert J. Emery
            Assistant United States Attorney
            Southern District of Florida
            99 NE 4th Street, Seventh Floor
            Miami, Florida 33132
            Robert.emeryz@usdoj.gov.

                                                     Isl Dana J. McElrov
                                                     Attorney




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                   COMPOSITE EXHIBIT A
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                               CASE No.      1:23-mj-03829 LOUIS
                                                                                    FILED BY          TS         D.C.
        UNITED STATES OF AMERICA
                                                                                          Sep 19, 2023
                                                                                          ANGELA E. NOBI.E
        vs.                                                                              CLERK U.S. DIST. CT.
                                                                                         S. D. OF Fl.A • Mi■mi

        JUAN ANDRES DONATO BAUTISTA,

                Defendant
       _ _ _ _ _ _ _ _ _ _ _ _ __,!


                                       CRIMINAL COVER SHEET

        1. Did this matter originate from a matter pending in .the Central Region of the United States
           Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? NO

       2. Did this matter originate from a matter pending in the Central Region of the United States
          Attorney's Office prior to October 3, 2019 (Mag. Judge Jared Strauss)? NO

       3. Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo
          I. Sanchez during his tenure at the U.S. Attorney's Office, which concluded on January 22,
          2023?                                                                         NO



                                                          Respectfnlly submitted,

                                                          MARKENZV LAPOINTE
                                                          UNITED STATES ATTORNEY


                                                   BY:
                                                          Robert J. E~ry
                                                          Assistant United States Attorney
                                                          Southern District of Florida Court
                                                          No. A5501892
                                                          99 N.E. 4th Street, 7th Floor
                                                          Miami, Florida 33132
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                                                          Email: Robert.emery2@usdoj.gov
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      AO 91(Rev. 08/09) Crimintl Complnint


                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                          southern District of Florida

                       United State$ of America                          ) •
                                    v.                                   )
                                                                         >      Case No.    1:23-mj-03829 LOUIS
                   Juan Andres Donato Bautista,                          )
                                                                         )
                                                                         )
                                Defendant.

            CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
      On or about the date(s) of             Julv 2015 to October 2017         in the county of             Miami-Dade           in the
          SC?_uth~m ..     District of              Florida         , the defendant(s) violated:
                 Code Section                                 .                    Offense Description
      18 U.S.C. § 1956(h)                            Conspiracy to launder monetary Instruments, in violation of 18 U.S.C. §§
                                                     1968(a)(2)(A), 1956(a)(2)(B)(O, and 1957(a), all in vlolatlon of 18 U.S.C. §
                                                     1956(h)

      18 U.S.C. § 1956(a)(2)(A)                      Promotional money laundering, in violation of 18 u.s.c. § 1956(a)(2)(A)

      18 U.S.C. § 1956(a)(2)(B)(I)                   Coi'tcealmentmoney laundering, In violation of18 U.S.C. § 1956(a)(2)(B)(i)



              This criminal complaint Is based on these facts:

                                                      SEE ATTACHED AFFIDAVIT


              rl Continued on the attached sheet.




    Attested to by the Applicant in accordance with the rcquil'ements of Fed. Crim.P. 4.1 by Face Time.


     Dole: Seplember 19 2023                    •                              _     _M.:-..:;.·.:..=
                                                                                                    •...:_..._ _ _ _ _ _ __
                                                                                                     Judge~ signature

                                                                               Hon. Lauren F. Louis. United States Mat!is(!ate Judge·
     City and state:                         Miami, Florida
                                                                                                   Printednan,o and title    •
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                               AFFIDAvrr·IN SUPPORT OF AN APPLICATION
                                       FOR A CRIMINAL COMPLAINT

                I, Colberd Almeida, being first duly sworn hereby depose and state as follows:

                             INTRODUCTION AND AGENT BACKGROUND

                1.     I make this affidavit in support of an application for a Complaint charging Juan

        Andres "Andy" Donato Bautista ("BAUTISTA") with conspiring to launder monetary instruments

        and conspiring to engage in monetary transactions in property derived from specified unlawful

        activity, in violation of 18 U.S.C. §§ 1956(a)(2)(A), 1956(a)(2)(B)(i), and 1957(a), all in violation

        of 18 U.S.C. § 1956(h); and laundering and attempted laundering of monetary instruments, in

       violation of 18 U.S.C. §§ 1956(a)(2)(A) and 1956(a)(2)(B)(i) (collectively referred herein as the-,

       "Criminal Offenses").

               2.     I am a Special Agent with-the U.S. Department of Homeland Security's Homeland

       Security Investigations (''HSP'). I have been employed in this capacity since March 2003. As

       such, I am an investigative or. law enforcement officer of the United States within the meaning of

       Section 2510(7) of Title 18 of the United States Code. That is, I am an officer of the United States

       who is empowered by law to conduct investigations of, and to make arrests for, offenses

       enumerated in Title 18, United States Code, Section 2516(1).

              3.      Since 2017, I have been assigned to the HSI Miami Field Office's Illicit Proceeds

       and Foreign Corruption ("!PFC'') Group, a group that investigates money laundering and foreign

       corruption. In my role as a Special Agent, and particularly while working within the !PFC Group,

       I have received training and gained experience related to investigations involving foreign

       corruption, money laundering, fraud, and other financial crimes - including, but not limited to:

      conducting or participating in surveillance and undercover operations; obtaining and executing

      search and seizure warrants and arrest warrants; interviewing witnesses, infonnants, and




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        cooperating defendants; and acquiring and analyzing electronic data and communications as weJJ

        as foreign and domestics business and financial records. Through my training and experience, I

        have also become familiar with various money laundering methods that persons engaged in such

        criminal activity take to avoid detection from law enforcement, including making payments

        through third parties or utilizing offshore shell companies or bank accounts to conceal the nature

        and origin of the funds; creating false documentation, such as a loan or a contract agreement, to

        give the appearance of legitimacy to an illegal payment; structuring payments to avoid bank or

       regulatory reporting requirements; and using coded language to hide the criminal nature of

       communications.

               4.     In addition, from approximately May 2001 through February 2003, I was employed

       by HSl's legacy agency, the United States Customs Service, as a Special Agent. I am also a

       graduate of the Federal Law Enforcement Training Centers in Glync<?, Georgia, where I have

       received training on law enforcement tools and techniques used to investigate violations of federal

       law - including those involving foreign corruption and money laundering.

              5.      The information contained in this affidavit is based on, among other things, my

       participation in the investigation, information provided by other individuals - including sworn law

       enforcement officers, foreign law enforcement officials, witnesses, and confidential sources; my

       review of relevant documents - including foreign and domestic business and financial records as

      well as email and text communications; and my training and experience as a federal agent and the

      training and experience of other federal agents. Because this affidavit is being submitted for the

      limited purpose of establishing probable cause, it does not include each and every fact known to

      me or learned during the course of this investigation.




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                6.      All dates, times, and amounts stated herein are approximate. I have summarized

        conversations of emails and text messages unless otherwise indicated. Quotations and summaries

        of emails or messages in Spanish are based on draft translations.

               7.       Based on my training and experience and the facts as set forth in this affidavit, there

        is probable cause to believe that violations of the Criminal Offenses have been committed by

       BAUTISTA.

                     SUMl\'IARY OF RELEVANT DOMESTIC AND FOREIGN STATUTES

               8.       Title 18, United States Code, Section 1956(a)(2)(A) prohibits money laundering

       in the United States involving international transfers and attempted transfers either to or from the

       United States with the intent to promote the carrying on of a specified unlawful activity.

               9.       Title 18, United States Code, Section 1956(a)(2)(B)(i) prohibits money laundering

       either to or from United States where the transaction or ~ttempted transaction is designed in

       whole, or in part, to conceal and disguise the nature, the location, the source, the ownership and

       the control of the proceeds of the specified unlawful activity.

              10.      Title 18, United States Code, Section 1957(a) prohibits money laundering by

       engaging or attempting to engage in a monetary transaction in criminally derived property of a

       value greater than $10,000 that is derived from specific unlawful activity.

              11.      Title 18, United States Code, Section 1956(h) prohibits conspiracies to violate the

       offenses defined in Title 18, United States Code, Sections 1956 and 1957.

              12.      Title 18, United States Code, Section 1956(c)(7) states that, for a financial

      transaction occurring in whole or in part in the United States, specified unlawful activity includes

      an "offense against a foreign nation involving . . . bribery of a public official, or the




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-------   -- -     - - -~--                                        --   -   -   -------- -        ---


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                  misappropriation, theft, or embezzlement of public funds by or for the benefit of a public official"

                  and "any felony violation of the Foreign Corrupt Practices Act."

                              13.    Pursuant to the Foreign Corrupt Practices
                                                                           I
                                                                               Act ("FCPA"), Title 15, United States

                  Code, Section 78dd-2 prohibits "domestic concerns"-which include individuals who are

                 citizens, nationals or residents of the United States as well as companies that are incorporated in

                 the United States or have their principal place of business in the United States-or any officer,

                 director, employee or agent of such domestic concern or stockholder acting on behalf of such

                 domestic concern, from making use of the mails or any means or instrumentality of interstate

                 commerce corruptly in furtherance of an offer, payment, promise to pay, or authorization of the

                 payment of any money, or offer, gift, promise to give, or authorization of the giving of anything

                 of value, to a foreign official or to a person, while knowing that all or part of such money or thing

                 of value would be and had been offered, given, or promised to a foreign official, for purposes of

                 (i) influencing acts or decisions of such foreign official in his official capacity; (ii) inducing such

                 foreign official to do or omit to do acts in violation of the lawful duty of such official; (iii)

                 securing any improper advantage; or ·(iv) inducing such foreign official to use his influence with

                 a foreign government or agencies or instrumentalities thereof to affect or influence acts or

                 decisions of such government or agencies or instrumentalities, in order assist the domestic

             concern _to obtain or retain business for or with, or direct business to, any person. 15 U.S.C. §

             78dd-2(a) and (h)(l)(A)-(B).

                         14.        Furthermore, Title 15, United States Code, Section 78dd-3 prohibits any

             "person"-other than an issuer or a domestic concern-while in the territory of the United States,

             from corruptly making use of the mails or any means or instrumentality of interstate commerce

             or to do any other act in furtherance of an offer, payment, promise to pay, or authorization of the



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        payment of any money, or offer, gift, promise to give, or authorization of the giving of anything

        of value, to a foreign official or to a person, while knowing that all or part of such money or thing

        of value would be and had been offered, given, or promised to a foreign official, for purposes of

        (i) influencing acts or decisions of such foreign official in his official capacity; (ii) inducing such

        foreign official to do or omit to do acts in violation of the lawful duty of such official; (iii)

        securing any improper advantage; or (iv) inducing such foreign official to use his influence with

        a foreign government or agencies or instrumentalities thereof to affect or influence acts or

        decisions of such government or agencies or instrumentalities, in order to assist such person to

       obtain or retain business for or with, or direct business to, any person. 15 U.S.C. § 78dd-3(a) and

       (f)(l).

                 15.     From my review of criminal laws of the Republic of the Philippines (collectively,

       the "Philippine Penal Code'') in effect during the relevant time period, the Philippine Penal Code

       contains the following provisions, in pertinent part, relating to bribery of a public official:

                 Bribery - Revised Penal Code

                       a. Art. 210. Direct bribery- Any public officer who shall agree to perform an act

       constituting a crime, in connection with the performance of his official duties, in consideration of

       any offer, promise, gift or present received by such officer, personally or through the mediation of

       another, shall suffer the penalty of prision mayor in its medium and minimum periods and a fine

       of not less than three times the value of the gift in addition to the penalty corresponding to the

       crime agreed upon, if the same shall have been committed.

                       b. Art. 211. Indirect bribery - The penalties ofprision correctional in its medium

      and maximum periods, suspension and public censure shall be imposed upon any public officer

      who shall accept gifts offered to him by reason of his office.



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               Anti-Graft and Corrupt Practices -Republic Act No. 3019

                       c. Section 3. Corrupt practices of public officers. -In addition to acts or omissions

        ofpublic officers already penalized by existing law, the following shall constitute corrupt practices

       of any public officer and are hereby declared to be unlawful:

                               (b) Directly or indirectly requesting or receiving any gift, present, share,

       percentage, or benefit, for himself or for any other person, in connection with any contract or

       transaction between the Government and any other party, wherein the public officer in his official

       capacity has to intervene under the law....

                              (e) Causing any undue injury to any party, including the Government, or

       giving any private party any unwarranted benefits, advantage or preference in the discharge of his

       officiai administrative or judicial functions through manifest partiality, evident bad faith or gross

       inexcusable negligence. This provision shall apply to officers and employees of offices or

       government corporations charged with the grant of licenses or permits or other concessions.

                                               BACKGROUND
       Philippine Official and Related Entities

              16.     The Commission on Elections ("COMELEC") of the Republic of the Philippines

       (the "Philippines") was an independent agency mandated to enforce and administer election laws

      in the Philippines.   COMELEC was a "department," "agency," or "instrumentality" of the

      Philippines as those terms are used in the FCPA, 15 U.S.C. §§ 78dd-2(h)(2)(A) and 78dd-

      3(f)(2)(A).

              17.    BAUTISTA served as the Chairman of COMELEC from on or about April 28,

      2015, to in or around October 2017. BAUTISTA was a "foreign official" as that term is defined

      in the FCPA, 15 U.S.C. §§ 78dd-2(h)(2)(A) and 78dd-3(f)(2)(A).



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           United Kingdom Companies, U.S. and Philippine Subsidiaries, Employees and Associates

                  18.     Company 1, headquartered in the United Kingdom, was a holding company that

          funded subsidiaries, including Company 2 and Company 3.

                  19.     Company 2 was an election voting machine and service prqvider company that

          was privately held under the Company l parent corporate structure. Company 2 had offices

          world-wide and was headquartered in the United Kingdom. During the time of the Criminal

          Offenses, Company 2 had at least one employee working and residing in the Southern District

          of Florida.

                 20.     Company 3, a subsidiary of Company 1 and Company 2, was located and

          headquartered in Boca Raton, Florida. Company 3 was a "domestic concern" as that term is

          used in the FCPA, Title 15, United States. Code, Section 78dd-2(h)(l ).

                 21.     Company 4 was a joint-venture and subsidiary .of Company 'l and Company 2,

          that was formed in the Philippines in 2015 to bid for contracts relating to the 2016 elections in

       the Philippines, as set forth below. The joint venture included, among others, Company 2 and

       Vendor A (described below).

                 22.    In or around the later part of 2015 and into 2016, Company 4 won bids for three

       contracts worth a total approximate value of one hundred ninety-nine million dollars

       ($199,000,000) to supply COMELEC with voting machines and related services for the May 2016

      elections for President, Vice-President, and other official positions. 1

              . 23.     Co-Conspirator 1 was a co-founder and President of Company 2. Co-Conspirator

      ·1 also served on the.Board of Directors for Companies 1 and 2. Co-Conspirator I maintained a




      1 All dollar amounts referenced herein are estimates in U.S. dollars (USD), unless otherwise
      indicated.
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        residence in the Southern District of Florida since in or around 2009. He became a lawful

        permanent resident of the United States in or around January 2019. Co-Conspirator 1 was a

        "domestic concern" as that term is used in the FCPA, Title 15, United States Code, Sections 78dd-

        2(a) and 78dd-2(h)(l).

               24.     Co-Conspirator 2 worked as Executive Vice-President for Companies 2 and 3 in

        Boca Raton, Florida. Company 3 paid his salary. He managed hardware development and

        manufacturing-worldwide-for Company 2. Co-Conspirator 2 became a United States citizen

        in 2004 and he maintained a residence in the Southern District of Florida since 1993. Co-

       Conspirator 2 was a "domestic concern" as thB;t term is used in the FCPA, Title 15, United States

       Code, Sections 78dd-2(a) and 78dd-2(h)(l).

              25.     Co-Conspirator 3 was a Company 2 executive involved in Company 4's contracts

       with COMELEC in the Philippines. He served as project manager for Company 4 in the

       Philippines who signed and implemented the 2016 election contracts. Co-Conspirator 3 was a

       "person" as thatterm is used in the FCPA, 15 U.S.C. § 78dd-3(a) and (f)(l).

              26.     Co-Conspirator 4 lived in Panama, and he had a business relationship with

       Company 2 and its subsidiaries. Co-Conspirator 4 was a "person" as that term is used in the

       FCPA. 15 U.S.C. § 78dd-3(a) and (f)(l).

       Taiwanese Company, Employees, and Related Shell Companies

              27.     Vendor A was a company based in Taiwan that manufactured hardware for

       electronic products for Companies 2, 3, and 4. Vendor A partnered with Company 2 to form the

      joint venture-Company 4-that bid on and was awarded contracts to supply·voting machines and

      related services to the Philippines for its 2016 elections.

             28.      Vendor A-President was president and owner of Vendor A.



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                    29.      Vendor A-Employee was a director/officer and shareholder of Vendor A. Vendor

          A-Employee·was a close relative of Vendor A-President

                    30.      Baumann Enterprises Limited ("Baumann") was a foreign shell company

          incorporated in the British Virgin Islands in or around 2010. BAUTISTA as well as two close

          relatives owned and/or were beneficial owners of Baumann.

                    31.     Shell Company X was a foreign shell company incorporated in Anguilla in or

          around 2014. Vendor A-President owned and exercised control over Shell Company X.

                    32.     Shell Company Y was a foreign shell company incorporated in Brunei in or around

          2011. Vendor A-Employee was listed as a director of Shell Company Y and the primary account

          user for Shell Company Y's bank account in Hong Kong. Vendor A-President owned and

          exercised control over Shell Company Y.

          Related Philippine Entities

                    33.     Philippine Metals Company was a company incorporated in the Philippines in or

          around 1994. Philippine Metals Company purported to be, among other things, an exporter,

          importer, and manufacturer of metals and metal products.

                 34.       Philippine MSB Company was a registered money services business ("MSB")

       incorporated in or around 2010 that operated in the Philippines.

                          OVERVIEW OF THE SCHEME TO PAY BRIBES TO BAUTISTA

                35.        In or around August 2017, BAUTISTA's wife informed Philippine National

      Bureau of Investigation ("NBI") agents that her husband had large amounts of unexplained
                                                                                              ,)
                2
      wealth.          She informed NBl's Anti-Fraud Division that her husband had approximately one


      2
        The NBI is an agency of the Philippine government under the Philippine Department of Justice,
      responsible for handling and solving major high-profile or complex criminal cases in the interest
      of the nation.

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        billion Philippine Pesos, or approximately $20 million USO, of "ill-gotten wealth." At their

        residence, she found foreign bank account information for Baumann, Shell Company X and Shell

        Company Y, that she previously did not know existed.             Additionally, at the residence,

       -BAUTISTA's wife also discovered stacks of cash of Philippine pesos and approximately thirty-

        five (35) "Passbooks" identifying multiple cash deposits at bank accounts in the Philippines held

        in BAUTISTA's and family members' names that she previously did not know about.

               36.     Based, in part, on this information, HSI initiated an investigation that focused on

        employees of Companies 2, 3, and 4 and their use of various overseas bank accounts of the

        Companies' vendor to bribe BAUTISTA-a Philippine government official-for lucrative

        election voting machine and related services contracts with COMELEC for the 2016 Philippine

       elections. In addition, the investigation focused on BAUTISTA's acts to launder his bribe

       proceeds related to the scheme.

               37.     As described in greater detail below and summarized in the attached flow chart,

       BAUTISTA, in his capacity as Chairman of COMELEC, received and attempted to receive bribes

       from Co-Conspirators 1, 2, 3, 4, and Vendor A, in exchange for using his position as Chairman

       of COMELE~ to assist Company 2, Company 4, and others to obtain and retain business and

       improper advantages, including payments from COMELEC, in violation of the FCPA and the

       Philippine laws against the bribery of a public official. Co-Conspirators 1, 2, 3, and 4 furthered

       the criminal scheme using personal email accounts and messaging applications to avoid detection,

       and in particular, Co-Conspirators 1 and 3 used email accounts registered under aliases.

              38.    To conceal and disguise the bribe payments, Co-Conspirators 1, 2, 3, 4, and

       Vendor A-President, together with others, caused or attempted to launder at least $4,000,000




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        through foreign and U.S. bank accounts for the benefit ofBAUTISTA, in violation of U.S. money

        laundering laws.

                           THE BRIBERY AND MONEY LAUNDERING SCHEME

               39.    From my review of emails, text messages, contracts, documents, bank records,

       witness interviews, and from my participation in this investigation, I have learned, among other

       things, the fol1owing:

               40.    From on or about April 28, 2015, to in or around October 2017, BAUTISTA, as

       Chairman of COMELEC, had influence and decision-making authority relating to the awards,

       oversight, and payments for three contracts to supply COMELEC with voting machines and

       related services for the May 2016 elections for President, Vice-President, and other official

       positions. As a government official, BAUTISTA was required to file a yearly Sworn Statement

       of Assets, Liabilities and Net Worth ("SALN"). For 2015 and 2016-the years that BAUTISTA

       was required to file a SALN as COMELEC Chairman-he failed to li&t his interest in Baumann.

              41.    In or around October 2014, COMELEC opened the bidding process for the lease

       of, with the option to buy, 23,000 election machines and related services for the 2016 elections

       ("Contract l ''). On or about July 30, 2015, BAUTISTA, in his capacity as COMELEC Chairman,

       awarded the bid for Contract 1 to Company 4, the joint venture that included Company 2 and

       Vendor A. Co-Conspirator 3, on behalf of Company 4, and another COMELEC commissioner,

      on behalf of COMELEC, signed Contract 1 because BAUTISTA was unavailable. For Contract

       1, COMELEC agreed to pay Company 4 approximately $53,763,481, in installments, and upon •

      Company 4 meeting certain milestones during the contract          Per the contract, only when

      BAUTISTA, or his designee, certified that Company 4 had met a milestone could COMELEC

      issue a payment to Company 4.



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               42.     In or around May 2015, COMELEC opened the bidding process for the lease of,

        with the option to buy, 70,977 election machines and related services ("Contract2"). On or about

       August 27, 2015, COMELEC awarded the bid for Contract 2 to Company 4. BAUTISTA, as

        COMELEC Chairman, and Co-Conspirator 3, on behalf of Company 4, signed Contract 2. For

       Contract 2, COMELEC agreed to pay Company 4 approximately $134,670,877, in installments,

       and upon Company 4 meeting milestones during the contract. Per the contract, only when

       BAUTISTA, or his designee, certified when Company 4 had met a milestone could COMELEC

       issue a payment to Company 4.

              43.     In or around March 2015, COMELEC opened the bidding process for services

       related to transmission ofresults for the 2016 elections ("Contract 3"). On or about February 9,

       2016, COMELEC awarded the bid for Contract 3 to Company 4 for the 2016 Philippine elections.
                                   ' and Co-Conspirator 3, on behalf of Company 4, signed
       BAUTISTA, as COMELEC Chairman,

       Contract 3. For Contract 3, COMELEC agreed to pay Company 4 approximately $10,642,488,

       in installments, and upon Company 4 meeting milestones during the contract Per the contract,

       only when BAUTISTA, or his designee, certified when Company 4 had met a milestone could

       COMELEC issue a payment to Company 4.

       Company 2 Created Slush Funds in the Philippines and Hong Kong

              44.    Based on my training and experience and my involvement in this investigation, I

      believe th~t to effectuate their criminal scheme to obtain the 2016 Philippine election contracts,

      Co-Conspirators 1, 2, 3, 4, and others, created "slush funds" in the Philippines, Hong Kong, and

      elsewhere.




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                  A.      First Slush Fund

                  45.     In or around 2014, a Company 2 subsidiary executed a two-million-dollar contract

           with Vendor A to design election equipment for the 2016 Philippine elections. As noted above,

           around this time, COMELEC had announced the bidding for Contract 1.             Regarding the

           importance of the Philippines contracts to Companies I and 2, Co-Conspirator 2 told a former

           president of Vendor A that Co-Conspirator 2' s bosses, which included Co-Conspirator 1, were

           "seriously considering in closing [sic] the company (Worldwide!!!) next year if we cannot

           apply, compete, and win the Philippines bid!" (bold and underline in original). Company 2

           advanced funds and paid Vendor A a total of two million U.S. dollars pursuant to the contract.

           A large of amount of these funds went unused by Vendor A. Based on my training and

       experience, the pool of excess funds which were not returned to the company, but were transferred

       to shell companies, indicates that the original contract was over-invoiced to create a slush fund.

       In an email to Vendor A, Co-Conspirator 2 wrote that he needed to check with his "boss" as to

       whom and where to send the excess of $1,000,000. At the time, Co-Conspirator 1 supervised

       Co-Conspirator 2. Instead of returning the money to Company 2 and/or its subsidiary, Co-

       Conspirator 2 directed Vendor A to transfer large amounts of U.S. dollars from Shell Company

       X and Shell Company Y through foreign and U.S. bank accounts, to various Swiss bank accounts

       of shell companies owned by Co-Conspirator 1 based on fictitious contracts. 3




       3 Notably, in or around June 2017, from one of these shell companies' bank accounts in
      Switzerland, Co-Conspirator 1 directed a funds transfer of approximately $1.3 million to a bank
      account in the United Arab Emirates that belonged to a company Co-Conspirator 4 owned. In or
      around July 2017, Co-Conspirator 4 then directed a wire tr~sfer to a company's bank account in
      the Philippines.

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                       B.     Second Slush Fund

                      46.      In relation to the creation of another slush fund, the Co-Conspirators funneled

               funds through Co-Conspirator 4's companies. On or about December 15, 2015, Co-Conspirator

               4 sent an email with an attached spreadsheet entitled "Philippines Pot" (translated from Spanish)

               to Co-Conspirator 3 at a personal email account. 4 The spreadsheet attached to Co-Conspirator

               4's email listed multiple payments to Co-Conspirator 4 totaling $2,340,000 from Company 2.

               The spreadsheet recorded various U.S. dollar denominated payments Co-Conspirator 4 appears

               to have made from his personal and business bank accounts to bank accounts of several

               Philippines companies, including Philippine MSB Company. In the spreadsheet, Co-Conspirator

               4 projected to receive $3,657,500 from Company 2. As discussed below in Paragraph 65, the

               Co-Conspirators used the same Philippine MSB Company bank account to funnel payments to

               BAUTISTA.

                      47.    According to bank documents obtained during the investigation, Co-Conspirator

               4 executed som~ of the wire transfers to bank accounts of Philippine companies, including

           Philippines MSB Company, on the same day or soon after he received payments from Company

           2. Many of the payments predated the awards of Contracts 1, 2, and 3, but occurred after the

           bidding processes for the Contracts were opened. Co-Conspirator 4 and his companies identified

           during this investigation were not on a list of vendors for Companies 2, 3, and 4 pertaining to the

           election voting machine and related services contracts with COMELEC that was provided to U.S.

           law enforcement by counsel for Companies 2, 3, and 4.




           4
              Based on my training and experience, and familiarity with this case, I have reason to believe that
            usage of the terms "Philippines Pot" related to the creation of a slush fund, particularly as the
          . spreadsheet recorded payments from Company 2 as well as outgoing wire transfers from various
           personal and business accounts in the name of third parties to companies in the Philippines.
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               48.     Emails lawfully obtained during this investigation indicate that Co-Conspirator 4

        created fake contract~ to obscure the true source of the funds sent to Philippine bank accounts

        described above and to conceal the recipient(s) of payments listed in the spreadsheet. For

        example, Co-Conspirator 4 recorded a payment dated August 26, 2015, in the spreadsheet to

       Philippine MSB Company for $72,000. An official from Co-Conspirator 4's bank questioned the

       wire transfer and requested supporting documentation. Despite Philippine MSB Company being

       registered as an MSB, Co-Conspirator 4 provided the bank as supporting documentation for the

       wire transfer receipts purporting to show that he purchased furniture from Philippine MSB

       Company. Co-Conspirator 4 emailed Co-Conspirator 1 expressing concerns about the bank's

       inquiries, and in response, Co-Conspirator 1 suggested submitting a receipt for services provided

       or something else to justify the wire transfer and indicated that he thought that this would satisfy

       the bank because they planned to send more transfers to Philippine MSB Company. Co-

       Conspirator 4 responded to Co-Conspirator 1 that he could not do what Co-Conspirator 1

       suggested because of the large amount of the transfer and that the transfer originated from his

       personal account. After the bank twice rejected supporting documentation for the alleged

       furniture purchase, Co-Conspirator 4 submitted a completely different justification for the wire

      transfer--a consulting agreement between himself and Philippine MSB Company that had

      nothing to do with furniture.

              C.     Third Slush Fund

              49.    Co-Conspirator 2 created the third slush fund from Company 2's 2015 contract

      with Vendor A to pay Vendor A approximately $56,117,790 to build 98,447 voting machines for

      the 2016 Philippine elections. Company 2 and Vendor A generated the slush fund by creating

      over-invoiced contracts. The purchase order--#5134--for one of the contracts designated the



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          voting machine the "1800 Plus." An Excel spreadsheet attached to an email located in Vendor

          A-Employee's personal email ~ccount detailed an itemized cost for purchase order #5134 of $570

          for each 1800 Plus voting machine. This same spreadsheet included an "Extra Fee" of $50 per

          machine, and a total "Extra Fee" amount of $4,922,350. The spreadsheet also listed "Extra Fee"

          for other items apparently related to the 2016 Philippine elections for a total "Extra Fee" amount

          of $4,961,350. In a March 2016 series of emails, Vendor A-President informed Co-Conspirator

          2 that approximately $5,900,000 in unused buffer funds from this contract belonging to Company

          2 remained in the bank accounts of Shell Company X and Shell Company Y. Co-Conspirator 2

          referred to $4,961,350 of these unused funds as his "boss's" as he had similarly described in an

          email referenced in P.aragraph 45, which I believe was a reference to Co-Conspirator l, who was

          Co-Conspirator's 2 immediate supervisor and president of Company 2. 5

                 50.     For one of the bank accounts in the Philippines, in email communications lawfully

          obta~ed by law enforcement, from in or around May 2016, Co-Conspirator 1 instructed Co-

          Conspirator 2 to create a contract to support payments to another company-Philippine Metals

       Company. Co-Conspirator 1 sent Co-Conspirator 2 the articles of incorporation for Philippine

      Metals Company in support of the scheme to create the false documentation to justify wire

      transfers to Philippine Metals Company.         Co-Conspirator 1 informed Co-Conspirator 2 that

      Philippine Metals Company was one of the companies they ought to use to send the payments and

      that they wanted to start with "l 50k" and to later increase the amounts. Based on my training and

      experience and my involvement in this investigation, I believe that "150k" refers to $150,000 USO




      5 The spreadsheet detailed in this Paragraph likewise contained a $10 cost called the "Rue," with
      a total amount of $984,470. During this investigation, HSI determined that Vendor A-President
      wired a portion of the "Rue" funds from Shell Companies X and Y to bank accounts in the Southern
      District of Florida belonging to Co-Conspirator 2 and another Company 3 employee.
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          and later increases to that amount when referring to making future payments. Co-Conspirator 1

          also told Co-Conspirator 2, who received the email in Southern District of Florida, ·•10 create" the

          contract that would be needed to support the wire transfers.

                  51.    Later in May 2016, Co-Conspirator 3, using an alias e~ail account, forwarded a

          contract to Co-Conspirator 1, who in turn emailed it to Co-Conspirator 2. The contract detailed

          four payments from Shell Company X to Philippine Metals Company for a total of$1,350,000 and

          was for the fictitious purchase of iron ore and copper from Philippine Metals Company.

                 52.    In a series of emails from in or around June 2016 to in or around July 2016, Co-

          Conspirator 2 informed Co-Conspirator 1 that approximately $750,000 had been sent to Philippine

          Metals Company from Shell Company X's bank account. During the same time period, Co-

          Conspirator 1 instructed Co-Conspirator 2 not to make any more payments because they were

          owed something. 6 In a subsequent email exchange, Co-Conspirator 1 informed him that they had

          started getting paid so Co-Conspirator 2 could move forward on the payment. On or about August

      20, 2016, Co-Conspirator 2 emailed Co-Conspirator 1 informing him that all payments had been

      completed to Philippine Metals Company.

                53.     My review of the contract between Philippine Metals Company and Shell Company

      X described above and related email communications revealed several irregularities. First, the

      2016 contract contained an annex which detailed the purported sale of iron ore, yet the delivery

      dates for the iron ore per the contract referenced the years 2008 and 2009. Second, according to

      export records received from the Philippines, Philippine Metals Company never exported any




      6
         Notably, around this time, Company 4 was awaiting payments by COMELEC on Contracts 1,
      2, and 3. As indicated above, pursuant to the contracts, BAUTISTA, or his designee, had to first
      sign a milestone certification to trigger the issuance of a payment by COMELEC.


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        goods to Shell Company X in 2016. Third, at no time did Co-Conspirators 1, 2 and 3 use their

        company employee email accounts to facilitate these transactions. Lastly, in my review of bank •

       records for Philippine Metals Company, almost immediately after the funds were sent from Shell

       Company X to Philippine Metals Company, wire transfers in the same· or similar amounts were

       sent from Philippine Metals Company to Philippine MSB Company.             In my training and

       experience, I believe this is a common money laundering method known as layering that is used

       to disguise the origin, destination, and true purpose of the funds transfer. As explained in the

       following paragraphs, the Co-Conspirators later used Philippines Metals Company and Shell

       Companies X and Y to funnel payments to BAUTISTA.

       Bribe Payments to BAUTISTA

              54.    As described in more detail below, Company 2, Company 3, and Company 4

       employees - including Co-Conspirators 1, 2, and 3-;- directed or caused Vendor A-President to

       send bribe payments from the third group of slush funds held in Shell Company X and Shell ,

       Company Y bank accounts, which Vendor A-President controlled, to BAUTISTA's bank account

       in the name ofBaumann ata bank in Singapore. Co-Conspirators 1, 2, 3, and Vendor A-President

       disguised these payments totaling $1 million to BAUTISTA as fictitious loans to Baumann, a

      company located outside of the Philippines, while BAUTISTA was Chairman of COMELEC.

      A~ain, Company 2 employees and Vendor-A created this slush fund related to the Philippines

      2016 elections through over-invoicing.

             55.    • In an email dated August 12, 2016, Co-Conspirator 2 wrote Vendor A-President

      that they "will move l l\1M as a 'loan' to a Virgin Island Company." On August 15, 2016, with

      the subject line "Re:4th Item - LOAN," Vendor A-President suggested to Co-Conspirator 2 to

      use the third fund from Shell Company X and Shell Company Y to pay the "loan." Based on my



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        training, experience, and overall familiarity with this investigation, payments from the third slush

        fund referenced in Paragraph 49, in part, were disguised as "loans" to pay bribes to BAUTISTA

        through Baumann, a shell company incorporated in the British Virgin Islands. The following

       were examples of some of those wire transfers to BAUTISTA:

               A.      August 16, 2016 Attempted Transfer of $500,000 for the Benefit of
                       BAUTISTA            •

               56.     On or about August 16, 2016, Co-Conspirator 2 directed Vendor A-President, via

       electronic messaging, to transfer $500,000 from Shell Company Y's bank account in Hong Kong

     ~ to Baumann's bank account in Singapore. According to bank records, BAUTISTA was identified

       through Baumann's Articles of Incorporation as a beneficial owner of the company and as a

       signatory on Baumann's bank account in Singapore. The wire transfer instructions listed "D.L."

       at a Singapore bank as the point of contact for the transfer and listed the purpose of the wire

       transfer as "LOAN AGREEMENT 2016." The wire instructions also listed a bank in New York

       as the intermediary for the wire transfer. The purported loan contract between Baumann and

       Shell Company Y to justify the wire transfer, included a signature that appears to be that of a

       known close relative of BAUTISTA, who signed the contract on behalf of Baumann. Based on,

      among other things, electronic messages that I have reviewed between the Conspirators, there is

      good cause to believe this loan contract was not legitimate and w~ intended to disguise the true

      nature of the above-referenced transfer, which was a bribe payment to BAUTISTA. Vendor A-

      President sent the $500,000 wire transfer, and it passed through an intermediary bank in New

      York. However, this wire transfer never arrived at Baumann's bank account due to an issue at

      the originating bank. As discussed below, the Co-Conspirators re-sent this $500,000 to Baumann

      on August 29, 2016.




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                  57.    Prior to the August 16th wire transfer, on or about August 10, 2016, Co-

           Conspirator 1 tex.ted Co-Conspirator 2, while Co-Conspirator 2 was in the Southern District of

          Florida, indicating that he (Co-Conspirator 1) drafted the loan contract because there was a lot of

          pressure to make the payment-which, based on the context of the conversation as well as my

          training, experience and involvement in the case, I believe to refer to pressure from

          BAUTISTA-and that they had to execute the purported loan contract to effectuate the payment. 7

          Co-Conspirator 2 responded that he would send the wire transfer next week, but that he had not

          sent the wire transfer yet as he was a little scared about doing so because the wire transfer

          involved "this country" and the country could be a "pain." Based on my training and experience,

          Co-Conspirator 2 referenced the United States when he wrote "this country" because he resided

          in the United States at the time. In a subsequent email to Co-Conspirators 1 and 2, dated August

          11, 2016, Co-Conspirator 3 attached a draft loan agreement for $1,000,000 between Baumann

          and Shell Company X. In a text conversation dated August 15, 2016, Co-Conspirator I told Co-

          Conspirator 2 that Co-Conspirator 3 sent Co-Conspirator 2 the wire instructions and that they

       were getting paid so they could immediately execute the "loan." In a text message sent from Co-

       Conspirator 2 to Co-Conspirator 1, on or about August 15, 2016, while Co-Conspirator 2 was

       located in the Southern District of Florida, Co-Conspirator 2 stated that the wire transfer was a

      lot of money to send, so he may have to ~reak up the wire transfer into "500" for each transfer.

      Based on my training and experience and my involvement in this investigation, this comment

      referred to the one-million-dollar transfer payment that Co-Conspirator 1 wanted to send, and

      that it would have to be sent in two payments of $500,000 each in order to avoid scrutiny from




      7Discussed infra, BAUTISTA and a close relative purchased a residence in San Francisco,
      California on August 31, 2016.
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       the bank(s) involved in the transaction. Co-Conspirator 1 then instructed Co-Conspiratqr 2 by

       text message, dated August 15, 2016, to send the wires urgently as the pressure to send the

       payment was "horrible."

               58.     In a text conversation the next day, on or about August 16, 2016, Co-Conspirator

       2 told Co-Conspirator 1 that the one-million-dollar loan payment had to be divided into two loan

       payments with "500" being "lent" by Shell Company X and "500" by Shell Company Y. In

       summary, Co-Conspirator 2 explained that the wire transactions had to be separa,ted so that they

       fell in different weeks and explained this was because it was a lot of "salsa" to send to the "north."

       Based on my training and experience, the context in which the terms were used and my

       knowledge of the case, I believe that the term "north" refers to the United States and "salsa,"

      refers to money, and that the Co-Conspirators were discussing dividing the payment into two

      smaller payments to help avoid drawing suspicion from authorities or banks in the United States.

              59.     In an email exchange from on or about August 16, 2016, to on or about August

      17, 2016, between Co-Conspirators 1, 2, and 3, Co-Conspirator 2 informed Co-Conspirators 1

      and 3 that "in order to minimize the risk for the Lenders, the loans will come from 2 different

      companies for 500,000 US$ each." Co-Conspirator 3 asked, "Cant [sic] they both be done on

      Wednesday?" Co-Conspirator 2 responded, "[U]nfortunately the amount is too big to transfer

      the same day. Please see attached confirmation for the first loan of SOOK. PS: Please send me

      the Joan agreements signed!" Co-Conspirator 3 replied, "I though [sic] we could have it signed

      by a fictitious name, and in that case, somebody there could sign. Isn't that the case anymore?"

             B.      August 22, 2016, Attempted Transfer of $500,000 for the Benefit of
                     BAUTISTA

             60.     On or about August 22, 2016, the Co-Conspirators sent a second wire transfer of

      approximately $500,000 for a fictitious Joan, per documents provided to the bank to justify the

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       wire transfer, from an account in Hong Kong in the name of Shell Company X, through a U.S.

       correspondent bank in New York, to BAUTISTA' s Baumann bank account in Singapore. Again,

       the wire transfer instructions listed "D.L." at the bank as the point of contact for the transfer and

       the justification for the transfer was listed as "BUSINESS LOANS." A signature on the loan

       contract on behalf of Baumann submitted to a bank in support of the wire transfer again appears

       to be that of a known close relative of BAUTISTA. As with the other wire transfer, it passed

       through an intermediary bank in New York, but this wire transfer never arrived at Baumann's

       bank account due to the same issue at the originating bank. As discussed in Paragraph 63, the

       Co-Conspirators resent the $500,000 to Baumann on August 31, 2016.

              C.      August 29, 2016, Transfer of $499,975 for the Benefit of BAUTISTA

              61.    As set forth above, the Co-Conspirators sent two $500,000 payments from Shell

      Companies X and Y that passed through the United States financial system but never arrived at

      BAUTISTA's Baumann bank account in Singapore due to the issues referenced above. Text

      messages from approximately in or around August 2016 through in or around September 2016,

      between Co-Conspirator 2 and Vendor A-President corroborate this information. For instance,

      in these messages, Co-Conspirator 2 and Vendor A-President discussed the problems that they

      encountered with the wire transfers and that the bank(s) involved in the wire transactions returned

      both payments. In the text messages described above, Vendor A-President confirmed that a bank

      returned the funds and that he would resend the funds to Baumann' s bank account at the bank in

      Singapore.

             62.     After the above-described text message exchange, based on bank account

      information obtained by law enforcement, on or about August 29, 2016, Vendor A-President sent

      to BAUTISTA's bank account in Singapore, in the name of Baumann, approximately $499,975,



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       from SheU Company X, to the attention of "D.L." and for ''BUS1NESS LOANS." This wire

       transfer passed through a U.S. correspondent bank in New York. In the text messages described

       above, Co-Conspirator 2 confirmed that the beneficiary-whom, based on the context of the

       conversation as well as my training, experience, and involvement in the case, was BAUTISTA-

       received the wire transfer.   Bank records also verified that this wire transfer arrived in

       BAUTISTA's bank account held in the name of Baumann in Singapore.

              D.     August 31, 2016, Transfer of$500,000 for the Benefit of BAUTISTA

              63.    Based on bank documents obtained by law enforcement, on or about August 3 I,

       2016, Vendor A-President resent BAUTISTA's Baumann bank account in Singapore

       approximately $500,000 from Shell Company Y to the attention of "D.L.," with the justification

      of"LOAN AGREEMENT2016." Again, this wire transfer passed through a U.S. correspondent

      bank in New York. In a text message, Co-Conspirator 2 confirmed to Vendor A-President that

      the beneficiary-whom, based on the context of the conversation as well as my training,

      experience, and involvement in the case, I believe to be BAUTISTA-received the wire transfer.

      Bank records also verified that this wire transfer arrived in BAUTISTA's bank account held in

      the name of Baumann in Singapore.

      Bribe Payments Redirected to BAUTISTA by Philippine Companies

             64.    Based on my review of emails, some written in Spanish, and bank records received

      from BAUTISTA's bank in Singapore, I learned thatBAUTISTA's bank account held in the name

      of Baumann ultimately received approximately $1,000,000 (two wire transfers of approximately

      $500,000 each) from Co-Conspirators 1, 2, 3, and Vendor President-A through Shell Companies

      X and Y. However, after the funds arrived in the account, compliance officials at BAUTISTA's

      bank requested supporting documentation for the wire transfers from Shell Companies X and Y.



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          Ultimately, the account holder, BAUTISTA, failed to convince bank officials that the wire

          transfers were legitimate through supporting documentation and the bank returned both wire

          transactions to Vendor A-President's bank accounts for Shell Companies 2 and 3, in October 2016.

          For reasons discussed in the following paragraphs and based on my experience in foreign

          corruption and money laundering matters, I have learned that the Co-Conspirators resent the funds

          using Philippine companies to BAUTISTA.

                 65.     After banking officials at BAUTISTA's bank directed the return of the $1,000,000

          to Shell Companies X and Yin October 2016, Co-Conspirator 2 directed Vendor A-President to

          wire these funds in another way to mask the origin and destination of the funds. From in or around

          December 2016 through in or around February 2017, the Co-Conspirators redirected these funds,

          including approximately $900,000, through· Philippine Metals Company to Philippine MSB

          Company's bank account. 8 On or about December 6, 2016, Co-Conspirator 2 emailed Vendor A-

       President the following:

                Remember the 2 500's TIT returned?
                We need to pay that IMM to [Philippine Metals Company].
                You did some transfers before to them, so you should have all the information; the
                contract is still valid so I think it should not be a problem to pay them.
                Please let me know what do you need in order to start sending the payments ...

                I suggest to send as follows:



      8
          In another email sent in early March 2017, Vendor A-President,· at the direction of Co-
       Conspirators 2 and 3, wired the remaining $100,000 as a "donation" to an organization in the
       Philippines. Based on training and experience, the totality of the evidence shows that this was not
       a "donation"; rather it was another bribe to BAUTISTA given that in the email conversation, Co-
       Conspirator 2 and Vendor A-President discussed resending the rejected $1,000,000 intended for
      BAUTISTA's Baumann, to Philippine Metals Company and a "donation" to an organization. They
      discussed wiring $900,000 to Philippine Metals Company and $100,000 as a "donation." The
      payments to Philippine Metals Company and the "donation" totaled approximately $1,000,000.
      Additionaily, Co-Conspirator 2 sent Vendor A-President a letter from the Philippine organization
      thanking Shell Company Y for the $100,000 donation a week before Vendor A-President had even
      wired the funds.
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                  WED 07DEC 297,500$
                  FRI 09DEC 262,700$
                  TUE 12DEC 268,800$
                  THU 14DEC i 71,000$

                  Please let me know ...

                  65.    Based on my training and experience and my involvement in this investigation, I

          believe the above communication was a reference to the Co-Conspirators resending the one million

          dollars that was intended for BAUTISTA, through a different company. After sending the

          schedule in the preceding paragraph, Vendor A-President sent Co-Conspirator 2 a revised wire

          transfer schedule in an email, to which Co-Conspirator 2 replied, "do the first ASAP in order to

          calm down the recipient people ..." Vendor A-President said he would transfer as soon as he could,

          but asked if the Philippines Metals Company could provide an invoice to Shell Company X.

          Additionally, the timing of the contract and the irregularities set forth above in paragraph 53,

          among other things, confirm that the entire contract between Shell Company X and Philippine

          Metals Company-to include the modifications-was not a real contract. Further, in a prior text

      conversation sent, in part, on or about August 15, 2016, from the Southern District of Florida,

      between Co-Conspirators 1 and 2, they referenced "metals" and "loan" in the same exchange.

      Based on my training and experience and my involvement in this investigation, I know that the

      word "metals" was part of the name of Philippine Metals Company and "loan" was a reference to

      the justification documentation for the wire transfers to BAUTISTA's bank in Singapore. 9 Lastly,

      in an email account lawfully searched during this investigation, law enforcement discovered a

      ledger of payments containing the first name of Co-Conspirator 3, who was the same individual



      9
        HSI also located a second Excel spreadsheet in Vendor-Employee's email from December 2016
      that detailed the "Extra Fee" for purchase order #5134 and subsequent payments from the "Extra
      Fee" to Baumann, Philippine Metal Company, and to the organization referenced in Footnote 7.

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         Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 44 of 75
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                    who signed and executed Contracts 1, 2, and 3 with COMELEC on behalf of Company 4. This

                    ledger contained most of the redirected payments that I have determined were paid to BAUTISTA.

                    On or about August 23, 2016, Baumann had wired $960,000 to the United States to Purchase a
                    Residence

                           66.    In reviewing emails and bank records obtained during the investigation, as noted

                    above, I have learned that the Co-Conspirators attempted to send $500,000 on August 16, 2016,

                   from Shell Company Y to BAUTISTA's Baumann bank account in Singapore. BAUTISTA, on

                    or about August 18, 2016, emailed "D.L." to inform her about the incoming wire to his account.

                   D.L. was BAUTISTA's relationship manager at the Singapore bank and was identified as a point

                   of contact on the wire transfer instructions referenced above. BAUTISTA attached the same

                   documents about the wire transfer that included the name of D.L. and that the justification for the·

                   transfer was "LOAN AGREEMENT 2016," the same description on wire instructions found on

                   Co-Conspirator 2's laptop.

                           67.   Based on the documents and communications reviewed by law enforcement,
                       -
                   BAUTISTA knew at least as early as August 8, 2016, that he would receive funds from the Co-

                   Conspirators. On or about August 8, 2016, BAUTISTA emailed "1.S.," who was his assistant, a

                   Microsoft Word document that had the file name "LOAN AGREEMENT PERSONAL." The

                   email had been forwarded to BAUTISTA and the subject line read "Fw: Draft contract," which

                   indicates that someone had forwarded BAUTISTA this email. However, in the email he forwarded

                  to I.S., BAUTISTA deleted the original sender from the email to I.S. The Microsoft Word

                  document in the email was a draft loan contract between Baumann and Shell Company X.

                  According to the metadata for this Word ~ocument, Co-Conspirator 1 created this draft loan

                  contract on or about August 3, 2016. Law enforcement found this same draft loan contract on Co-

                  Conspirator 2's laptop.

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   Case 1:23-mj-03829-LFL Document 1 Entered on FLSD Docket 09/20/2023 Page 29 of 31




               68.    On or about August 23, 2016, the day after the Co-Conspirators attempted to wire

       the second $500,000 amount (which later did not go through), $960,000 was wired out of the

       Baumann account (BAUTISTA's account) to a bank account in New York held in the name of a

       BAUTISTA family member (Family Member 1). 10 According to bank records, the payment

       details for this wire transfer described it as a "Gift." On or about August 29, 2016, this exact

       amount-$960,000-was wired out by Family Member 1 of this New York-based bank account

       to an escrow account for a partial payment for a residence in San Francisco, California that cost

       $1,279,200. Family Member 1 purchased the residence on August 31, 2016, and was listed as the

       only purchaser of the residence.

              69.    Email communications from July 2016 between BAUTISTA and family members

       stressed the importance of wiring the funds from the bank account in Singapore directly to Family

      Member 1, not to the company in charge of the closing for the residence, and to label the wire as

      a "gift." In another email, Family Member 1 thanked BAUTISTA for the "most generous gift

      you've given me this year for my birthday - the opportunity to partner with you on this very large

      investment." In a later email that copied BAUTISTA, a family member recommended a real estate

      agent to use if they ever decided to sell the residence. Based on my training and experience and

      involvement in this investigation, I believe that the $960,000 wire transfer for the residence was

      not a gift, but a joint real estate investment between BAUTISTA and Family Member I.



      10According to bank records for Baumann, the account had a negative balance after the $960,000
     was sent to Family Member 1. The evidence suggests that this occurred because based on the
     conversations described above, BAUTISTA thought that the first two $500,000 wires sent on
     August 16, 2016, and August 22, 2016, would be credited to his account. I know this because
     BAUTISTA forwarded the draft loan agreement to LS., his assistant, on or about August 8, 2016,
     and the first wire confirmation to D.L., his relationship manager at the bank on or about August
     18, 2016. After the Co-Conspirators and Vendor A-President resent the two transfers for
     approximately $500,000 each in late August 2016, the Baumann bank account flipped to a positive
     balance.
                                                     27
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                                                                                                               D




                                                    CONCLUSION

                    70,     Based on the foregoing, your Affiant submits there is probable cause to issue a

             criminal complaint and arrest warrant charging Juan Andres "Andy0 Donato Bautista with

             conspiring to launder monetary instruments and conspiring to engage in monetary transactions in

            property derived from specified unlawful activity, in violation of 18 U.S.C. §§ 19S6(a)(2)(A),

             1956(a)(2)(B)(i), and 19S7(a); all in violation of 18 U.S.C. § 19S6(h); and-laundering and

             attempted laundering of monetary instruments, in violation of 18 U.S.C. §§ 195.6(a)(2)(A) and

             1956(a)(2)(B)(i).
                                                    '
            FURTII.ER YOURAFFIANT SAYETHNAUGHT.




            Attested to by the applicant in accordance ·with the requirements of Fed.R.Crim.P. 4.1
            by Face Tin1e this 19 day of Septembe1· 2023.




           HONORABLE LAUREN F. LOUIS
           UNITED STATES MAGISTRATBJUDGE




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Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 47 of 75
     Case 1:23-mj-03829-LFL Document 1 Entered on FLSD Docket 09/20/2023 Page 31 of 31
                                                              SUMMARY OF BRIBERY SCHEME FLOW CHART




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      Co-CDDSpirator 2 (Vice-President• Company 3)                                                                                                                                                                                              COMPANY 2
 Co-Conspirutor 3 (Project Manager Philippines - Company 4)                                                                                                                                                                          /
                     Co-Conspirator 4                                                                                                                                                                                /



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                               EXHIBITB




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Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 49 of 75




                                              ·.ENBANC
              IN TllEM..\rIT-m. OF 'f.HE P~TITION TO
              J(E'VIEW TaJ! Q'Ql\tIF1-CATION.S. QF
              SMARTM.ATI~ P~P:l,NE$,. INC~ ..\S A
              PRC>SPEci'JVE BIDDER IN VIEW OF ITS
              FAILURE IN THE 2022 ELECI10NS TO
              COMPLY· WITH CERTAIN MINIMUM
              S'XSTEM    CAPABII~ITIES TBA'l"
              ~ES~~- ~ SJSltjOUS ·--~ GR~YE
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              ~sMtsstd~f AND ·aECEJrt OF
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              WARRANTED,   TO    DISQUALIFY
              SMARTMATIC FROM PARTICIPATJNG
              IN THE BIDDING FO.R THE 2025
              AlJTO~~ ·Jti:.icrtoN $YSTl:M,                .. •

              EUSBO MIJARES lUC;), JR., ~lJGt)STO
              CADELINA.  LAGMAN; • FltANl<LIN
              FAYLOGA ~SAAC, and LEONAR'DO
              OLIVBRA ODONO,


                                          NOTICE

               l.    ,A.TTY.JOSE 1\,1.JOSE
                     ~11sel fot tire Petitiotwrs
                     6Q ~v«;m Str~t aarai,:gay Progres~
                    Sanjuan City,, Manila
                     imjt>se64@yahoo.com
                    .v         .


              2.    4.U'Y. CHRJSTIAN ~C>B!iRT S.~ LIM .             ..
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                    1200 Makati City~ fyietro Manila
                    lgton@lg,toruaw.com
                    crlim@lgt<>nliiw.co1:11
                    ccinarcelo@lgton.com
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                 accm@acctalaW;corn gksalud@accralaw.com

              4. 'The LAW OEPARTMEN't
                 'Thi&. Cotrimissibn • •
                 law@comelec.g:ov.ph

              5. Tli~ EµlJC~T!ON & INFORMATION DEPARTMENT
                 Thi~_-C:<>~$.tqn
                 eid@comelec,gov.ph

        GREETINGS:

            Attached is- a copy of the RESOLUTION of the Commission
        (EN BANC) with SEPARATE OP_INJON of Commissioner
        Aimee P. Ferolino proritulgated on      1
                                               November 2023 ih the
        abQve~entitl~ case.        ,

               Giv(;m thi$   '14B) <.li:ty o.f Nov~mber 2023, City of Mf,'lnU~,
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Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 51 of 75




                              Republic of th¢ Philippine$
                           COMMISSION ON ELECTIONS
                                        Manu~




          IN THE MATTER Of THE
          PETITION TO REVJEW THE
          QUALIFICATIONS         OF
          SMARTMATIC PHILIPPINES,           131'4 .CASE NO. 23-Q03
          INC, AS A Plt().~J>EctIVE
          BIDDER IN VIEW OF ITS
          FAlLURE   IN  THE    2022
          ELEctlONS TO COMPLY
          WITH C:ERTAIN MINll\4UM
          SYSTEM CAPABILITIES THAT
          RESULTED IN SERIOUS AND
          µltA~ InREGULAIUTIES IN
          THE TRANSMISSION ANP
          RECEIPT    OF    ELECTION
          RETURNS       ANI>;      IF
          WAltR#\NTED,            TO
          DISQUALIFY SMARTMATIC
          FROM PARTICIPATING IN
          TilE BIDDING FOR THE 2025
          AUTOMATED ELECTION
          SYSTEM,


          ELISEO MIJARES RIO, JR~,
          AUGUSTO        CADELINA•
          LAGMAN;        FRANKLIN
          FAYLOGA    YSAAC,  AND
Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 52 of 75

           B.M. No. 23,;003                                                                     Page2of11
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                                                             FACTS

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         .ciurjng·- the 09. Mc:ty 20~ Nation~I and Lpc~l EJectio1,s. The allege~
         irregularities pertain to discrepancies betweeri the txai,smission logs and
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          pm to at least 9:00 pm on 09 May 2022, ff1e Transparer1cy Server was
          reportedly receiving and tallying more votes than what the Voting Counting
          M~chi:ne$ (VCMs) were· transmitting.

              On i29 June 20~; the Petitioners submitted a Supplemental Pc!Htio,t2
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         cl~g th,~t electipn teS.uJts were lra11$mitted ftcm, the VCMs tn the
         Transparency Server u.sirig private IJ'iternet Protocol (IP) addresses ii,sfead


         1 Record$., E,M No. 23.-003.
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Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 53 of 75

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Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 54 of 75

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                                111 lht• pmc:11reme111 of ll1fs sy$b!'lll; the €;i,m111issi0.11 sltnll db.ielop ~ul adopl
                                n11 tri!11l11ntio11 sysiem to ascertaira llmi ll,e ttbove 111i11im11m system r.npnMilies
                                are met. This eval11ntic:m systen,- s11nl/ l,c d.eiieloped wiih tlte ns.s1st1h1~ of m1
                                ad1,iSC1nJ com1dl. (Scdio11 7; RA 9369 a11umdi11g RA 8436).

                 On 12 September 2023~ the Petitioners subm.i:ttecJ ~ Se.tpi~d S1#ppleme11lal
          P~titicm 3 alleging that based Qn newly-dis.co,reied information, a Presidential
          candidate met with representatives of Smart~~ti~ Petiµqners cl~ .that this
          is a violation of Article 5.13 of the Contract
                           .   ·.     '              . . . . with
                                                             .   . the
                                                                     . Commission
                                                                     ~  .. .    .    for the  •                  •



          Pro~tireinent of Secure Electronic Transmission Serv1c~ (SET$), wmqi
          states:
                                           5,13;· The PROVTO-,~R•. im;ludi,ig ~,,t liu,ited tp its ei1,plpy~.
                                           represe,, tatil11ts a,,,1 iige,lfs ,siuill not 11utke ,u,y_ ,(iredor fridirect
                                           tYmt11ct i,•1111 m,y • poltticat par~y_. ~.,4:.q1p_t~,, pi1ftj$.Qt1
                                           orga>iiztitip11, or_.gro,,p nt n,iy gj_ven tfi1te: it,itlt respect to. tile
                                           SETS project for the dttroifoii of tlii1f q1n~nict~ e~t;ept ~
                                           protilded by law to pfts_ent tcd.11iii<il den10.11sttntio11 or as 11,ay
                                           bt.r ntttltorizc,I bJ!. ll,e. COME:LEC.

               In suppQrt thereof, Petitio11er submitted the .Affidavit• of Atty. Glenn
         A. Chong who allegf¢d that representative$ of R@pondent me.t with
         representativ~s 9f ~ pt~~ktenti,d candidate iri }\pril 2022,Jri violation of the
         above contractual provision;
                  On 10 August 202~,. the Cc,n1mj~.$icm (En BM~) is$ued ~, Orders
         dlrectihg the J.,.aw Departme1tt to review and submit a recommendation on
         tl1e Petition and Supplemental Petition within ten (10) d,.ays tr.om reqeipt

              The Law Departmeri.t filed .a Motion for Exlensio11 of Time lo Submit a
         Recommendation, whicb the Commission (En ~~1,1~) i:p tum granJ~d 0,n 23
         August 20~, giving th¢ L~w Departm¢nt until 31 August 2023to coinply,
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         1™:.No.29..()03
          Flt )_ililC ~e,s~utifm

                On '$-1 J\.ugt$t io23., th~ iaw Q¢parttnetit ~uli,mit~«!.d it~ c:tmml-ian.ce;6
         ar~u:ing that there is no Jes.at basis to prohibit Sniartmatk from partidpati.rt~
         41 the. CqJDP,lis$iC:>n's· :Prp_curement Processes.
                Tbe Law Department argues that since Smartmatk was given its
         corresp9i1dq1g c:onttac::ts tbro.~gh Public or Comp~titiV.¢ Bli;lding and R~~~t
         Order, none of the pi'qjects were subject of a Framework Agteefueht. As
         s.uch~ the Petitk>ner's invocation of Appendix 32 is misplaced.

               The Law Department also notes that the right to. review a bidder's
         qu,alµipatj9ns staled in Se~tion 23.6 of the 2016 R-IRR i~ similar t9 nem 8.9 ~f
         Appendix 32 cited by the Petitioners, which prc>vides;
                             23.6 Nc#rnhl,,li11idi11g the eligll)Uily ,if 11 1ii1ld1tr; tit,! Proc1.rr/lig_ Eutity
                             com:r.n,ed reserpe5 tlit! riglll to rr1,iei1 1 Jim qmdifiq1tio,1s ,if th,· ltltltler. nl
                             n~i}/ s_ti,ge of #ie ,,.r6Q.1retmmt ph>i'l!SS if the Proc:iil·ittg euU,jJ . hit$
                             re11sa1mblt, groi,ntls to believe tltnl II misrepresentntio,i /,ns l1eett made btJ
                             the mid bidder, Pr 111111 Jlier,• Im~ ,,~~" ~ t•Jilmge iii #w bid(IL'r's t,,Wj!i~Pi[iftJ
                             to tmderiake tl,e project from Jlie limii ,it s11bmiUtul /Is eligiMlity
                             ~qt,ir,,;~f#its, Slipulil ~,tr,, ft!lliell 1 w1cot1~rr lliifl mlsr.e,,rostmlnltai, m111li'
                             iii Hie eiig11iilUy r~q11ire,~1eJ1ls. sla.teineitts or dor:ui;1eiils; or any d1a~iges
                             in tl,p $ltuntio,- pf tltc '1J4d~t ,,,l,ic/1 n1JII affec.1 tit,, cnpabilily pf llr1r b_i{lder
                             t~ iu,derhl~ tlie,ptojcd SQ tlmt Uft,ils tlufaiJ/gil#lity cri11?ri(l, the Prodtri11g
                             t1#ity slmll ·co,,s,t!er lite tn~a bidder 11s hte/igil,/e ,1114 sl,nll disqmilifi.J ii
                            frmtt pbtn:ii~tug_ ,m ;ltmard or ,;cmimtl, ii.I ilr:cordn11tJ; ,,,uh (<,,lei; 'KXI,
                             XXII, ,md XXill -c>/JliitdRR.

                This tjght to review allows the Procuring Entity to reassess a bidder's
         qf.lalific~tio~ at any stage c,,f the procLJrelllent process if there is~ belJef Qf
         .n:iisrepresentation or a d1ange in the bidder's cap.ability. Howevgr~ th¢ right
         to review under Section .23.6 becontes operative when a particular project
         has already J:,:egun the pro_curem~nt proc¢s.s, particularly when J:,idders have
         alteady submitted the requited documents to prove eligibility.

               The Law Department concluded that although the Terms of Reference
         for fue i025 Nationai and Local Elections (NLE) Automation-Project has been
         published, the procurement pro:c;:e$S has not started, making it ptem~tu.re to
         determine if the project witl involve a Framework Agreement. Hence, there
         i$ simply no basis to review Smarµ11alic's or ~my uther hid~fer's eligibility.
         Since the procurement process i"!; yet tQ be cornmertc~d, ther¢ is no avemie to
         review the eligibility. of Smartmatic·either under Item 8.9-of Appendix 32 or
         SectiQn 23.6 of the 2016 R--JRR.
                                                                                                                    \   \.
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          J!.M. No. 2.,-00.,
          B11 Pn11c Jf.e~rtlttlimr




                In addition, th~ prohibifipn to partlci,pate in the p1·ocur~m~nt proc~ss
          of a govenunent which may b.¢ thtQggh ~m;p¢n!;ion ()r bl~cklisting nil.1st.be
          imposed in accordance with the Uniform Guidelines on 8Jacklisting
          integrated as Appendi~ 17 c,f the 2Ql~ R-lRR-a~ .an admh,isb'ative p~alty ft>r
          the foilowing viol~tio.ri$:
                              ri)    Sul1i1ifsi:i()1i dJ: eligiMitjJ ff!:q(iil'.e11ui11ts t:'011lni11i1,g J11lsi!
                                       i11/Qrm4ti911 orfa~~,iffed d0,c"'ments.
                              b) Submissioll of Bids tlmt CD1ttni1J ftilse i,,formnlinll 01' falsified
                                   .ifr,,:utii'e11ts,t,t_ll¢:dJ11teal1ne11tojs(1t/1 ii,farmntir,m;,; fhe S(ds
                                    iu orde.r. to i1ifl~e1tf# #1~ Otfi~1it.e <J/e.tigibilihJ screeulng, m·
                                       mi]J;.Dflriir stagt of the touipefitiz,e• biilding.
                              c) Ailoti,i11g t1,e u~ qftmf'~ .~t,t,111~, o:n1si11g th~~ 11m11e of nm,ther Jc,,·
                                       pmposes of'c'.ompeti'tive biddiug.
                              ,f) W;tlidrmfinl (}j n b!<t gr rif~1$#l. Ip lircept fln aw11ril, pr ,mtm· it110·
                                     co11trn~ l(titlt,tlie .f{ir,,v~mmenl tvitl1ordj11slifi11l1lt• etm~, n.fter
                                     lte lzttd bee11 ndj11dged as /J4z,i1tg s11hmitled II,,. Lowes.I
                                     P,la1lt1te.d Rrsp;,1tsfife 8,iJIQt Highest ~ntcd ~esplmshie DM.
                             e) Refuslil otfti"il11re to post the required pt'TfanllnJICI! $t!(lirit)J n1itlti11
                                     • th¢ pfeIJctifiefd tn1i¢.
                             ft Termiuatio11 oflire· co11tr11ct, dire to tl,e defa,,.lt of lite bitide1·.
                             g) Reft~sftl JP c~ari[y pr viil(dnN in t.urihiig ;,~ bitf ,turbig po.st-
                                   qualificnijo11 t~ifhit,J a p.eiz"o4 of sei,e11 (7) cflle11dnr ,lays from
                                    reteiptiftlze teq1iestfor clilrifitalioli.
                             Ir) Auy (iOtllllU!~t~d ,(ll~~'-'"'' by 'ti bidder I() 1111d11ly iltjl;,w11,;e ,,~
                                    011tcome <Jf tlie biddi113 .in Ids favor.
                             i) All ~fl1Jfr 1,1c:ts tlin.t te,td t<, tlfftat 11,c 1'"'1'PSt' pf 11w ~w"11etif#w
                                    bidding, ~urlt fl$: l111bil:i1(llly 1ttit/1,irawi11g from Mftlill&,
                                    s11b111itii11g. ltile Bid$ or pak1itly, i11s1,fftticmt Md; /CJr at lenst
                                    tliree (J) tfities f~iif/1i11 R yt;itr; ~X.CCjit for tmlid f'CflS(Jlt:;.

               For violations c;onuniOE?cl       th~ czontract implementation stag~,
                                                            (~~g


         the penalty of blacklisting may be imposed ·only after the lt~rminatton of the
         contract. Where termination of the. contract is no longer possible, the
         proc~dure for b1a~klisting·mu$t b¢ initia~d within seven (7) dct.yft ijft~t the
         lapse of the project duration.

                lJppn inquiry t<>. artd ;:ts ·¢pnfinn~d i:!y the PMD, no suspe115ion an4
         blacklisting proceedings are pending or initiated agtlinst Smartmatk in
         relpticm lo the pr<>jects it provided for the i022 NLE. Ther~(()re; there is no
         i~gal basis to prohi,bit Smartmatic from participating in the prn~ur~ment
         process of the Commission.
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          E.M. No. ~0.03                                                              Pag~1of17
          e,) Bflfic Rf#,lri;io;, •


                With regard to •oth¢r issues raised by the Petitioners, the .Law
          Oeparbnent con~nds· that·th.e Petith:Jiters fail¢d to substantiate the serious
          and material .u-regµj~ities.. Petitiqilei'S m..~reiy alleg~ the ex~tenc.:e of $erio11.s '
          and material irre~itles,; and readily condu'de that the$¢ \l"io.Jate the
          Q.1µ1imµm s;y~ capabiliti~s reqmred un.der Section 6 of RA No~ 8439, as
          amended by Reptdili¢ Act No. 9369.

                   On os October 2023, the Commission (En ijan¢) issued an Order7 setUng
         the instant case for hearing on 17 bctober 2023. It also required Smartmatic
         wC9mment 9Il th~ Pe~tion ang tw<> (2) S11pplemental Petitions within five
         (5) days from receipt.

                 On 12 October 2023, Smartmatit filed its Ex AbUiidattti Ad :Qii1tela11t
         ~mment.8 Smart:matif; str~s~ed it$ consistent c<>mpUam;e with the
         C6mmi$$ion1s guidelines since 2010, ce>ntributin.g to q¢dibl~ electi(m.s.
         Smar~tic asserts that th~ ahno$t perfect match. rate (99:84 %) between
         phy!iiica.I ~cl .ef~pnk El~c:m ~~ul~ ill the 2022 Philippine NLE
         demonstrates. the· effectiveness 6£ its ,system under the SETS Contract.
         Sman:inati~ ~P hig.b,lighted irt its comment that the c~nvassing w~
         un¢hall¢Ilg~ by major ptesj<:lentuU c;andidates, Atty. Mfµia L¢t,nQr "L,eni"
         Gerona Robredo and Francisco Moreno Domagoso.

                A4dres.sirJg the ~sue of ~ly transmission of results; Smartmatic
         explabls that the pro¢~s f<i:r transmjtting electipn r¢sµJts dogs not take as
         long as Petitioners claim. They elaborate that after the ElectoraJ Boards dose
         the el~on aJ?d cornpl~te n~~essary proc:,epure!;; the VCtv)s can quickly print
         the fits.t eigbt elettitin results aild tr.al1$111it th¢m. This flro~e$s, c~nttary tQ
         the Petitioners' daims need not take 19 minutes, debunking the
                                      1

         bnptqhability of transmitting twenty mUlion vot~ ·within the first hqur.
         Smartmatic furthet.clanfiE?s thateach ER isoruy about five kilobytes (KB) pf
         data, and tlm·tptal data tr~rrutted by approximately 39,000 VCMs is only
         around ni;rteteen megabytes (MB.), ~ vqlwne easily manage~t,t~ it1 modern
         data transmission standards.

                  Regarding the vote ~Quntillg speed, S~l,n1atk reftit~~ th~ notron .of
         improbability in this aspect. They state that the 'Accumulated VCM
         Transm{S$i<>PB/ ang the 'Recepti,c.m Log~' cor.nt? frq111 tht:! :;ame ''Transmisi;io1.1
         Router. Logs', which acc:ounts for all data ttansmissiQn thtQugh their
Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 58 of 75

          ltM.No,~·
          f.11 Bqnc Re$oltttfon
          inftaslnlttutie. They argue that if the gr-apbs for both the' Accumulated VCM
          Transmissions' were plotted accura~ly; there would be no discrepancy
          between the data. received
             '   ..   .   .      ..
                                  .., . at. the
                                          .    . . National
                                              .•     ..    ~
                                                            Board
                                                               .· . -: of Canvass.ers
                                                               . ' .   ,· . ...
                                                                            '   .
                                                                                . . ..
                                                                                      and
                                                                                       . . the
                                                                                            .
                                                                                         ,. .   ,   •   .   .


          Transparency Servers. They also pemt .out that the Petitiprie:r$' $raph$
          misr~pr~sent the µata, like showing a~qumulated (ransmissions for the first
          tw◊ btlUfS.CQb'lpaied Jo h0.urly dat~, Whi~h l@ds tQ ~~¢We(,i-cgnd~~iOJl$.


                 In ~cl~~~ing ti~ alleg&tiQn -~\Joµt, the us~ pf privat~ IF ajclresse~ in
          the first Su-ppleniental Peti#o11, Smartmatic firii'lly tefu tes ~ny sµgges.tiori of
          wrongc;lQing or fraud related lo this matter. They stress that the use tjf private
          IP ~ddre.sses qpe~ nQt tran~Icitt¢ 'tq the u.tiliz~tipn Qf ~ny pt~~bit¢d or
          unauthorized Local Area Network (LAN). Smartn,alic clarifies that there is
          no evidence provided by the Petitioners; nor any laws ·stated, that wQuld
          pt0.hibit the us¢ of private IP addr¢s$~s fpr the tr~nsmissi~n pf ER$.. Th¢y
          point out that there is no. mandate under the Election Atiton1atiort Law (RA
          Np. 84~ ij~ i.lmenqed by·~A Np. 9.$69) r¢qµiring .pt1blic Ifi c(ddr~~~~ fqr tli:e
          transmission. of ERs;

                  St11attm~tk fu.rther e>.<plah,~ the techrtoIQgit:~1 ~<.>•1te'(t-ofc th¢.ir ~ystem\s,
         ijse of IP addresses. They note ail upgrade in ·technology ftoifr3G to. 4G USB
         mode~- 4\le. tp th~ disco11linq.~ti9..p (Jf ~G network,~. this µpg:rad~
         necessitated the us.e of both 3G and 4G moden,s in the 2022 NLE, ,1/ith 4G
         modems undergoing. rigorous review and certification. The use ,of 4G
         mod¢ms, u.,nlj~e $G n,QqeJris, d,oes n<:>~ mvp)ve dialjng to ccmn~ct t9 ~ S~rvi~e
         Provider Network Instead, they fimt:-tio:n titore like \\'IFJ routers with a
         Wide Area Netwod< (WAN) inted~~e an..d a LAN interfac~, the latter being
         through a US.a in t.bi,s. ~pedfk ca~~

               Th~ p.11~y~te IP addres$!s U§¢d we:re a result of thr. ma11ufacturer's
          design, assigning all 4G USB mode.tn!H:l LAN IP Addl'ess of 192il68..0J.
         ·When. f;he,~-~od~ms are attached to a 'VCM, they as~ign the VCM a LAN IP
          ~ddre$$ pf 1Q2.1.68!0.2, allowing the VCM and m~dern ~o ~Prnmw;ugat¢ in ~
         LAN environment. Additionally, the Subscriber Identity Module (SIM) .card
         in the modem connects to the WAN of teleQOmmunkation compMies, which
         then assigm; ii WAN iP Addr~$s for tta:ns:mis!ii0,n in th~ Privat~ Networ~
         created for election transri1ission purposes.

              I~ th~ir r¢Spo.nse lP the c11leg~ti<>mH\boµt an alleg~d imptQper nweting
         mentioned iit the. second Supplemehtal Petitio11~ Smartmatic categorically
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            E.M. .No. 23-003                                                             l'ngc9of17
            ~n Biuic: ~~0l1iU011

           denies the daim. Th¢y describe this ELllegation as "completely false ~d
           1µ1true,' 1 emphasizing that il is based on ·An unverified and irresponsible
           ~t~t_ement by a per~on who is a st~ng¢r .to the electoral pr.o~ss.. $.rµa1·~ati¢
           c.ontends that such an allegation is gro:unde:d in .~peculation rather tbati
           ~vid.fil.1.C~, asserting that there was no illicit meeting that compromised the
           integrity of the election proc~$s.

                They further elaboi:~te that the _,petitions fiied against them are
           imprQper:, lacking legif:ijruite issues WQrthy of cortsidetafion, Smartmatic.
           argue$ tlu~t the Petitioners, through their filings; are attempting to resurrect
           disprc>ven ·and moot issqe$.

                    On 13 October 202$; P~titioners fileq their summary of exhibits.9

                                                   ISSUE

                   The issua:• that must he resolvt•d is whel11l'r or 1ml the Commi•;Hil)n as_
           head oftht~ Procuring Entity can l'<'Vit"'"' the qualifin1li<111f-, ,,f Smni-1 n1dli1 tmd
           putentfolly disqualify H from pal'Lkipating in tlw pl'OnrrL•nwnL 11111( ,•ss for
           llw 2025 AES.

                                                 Rl.JLING
                At this stage of the procurement. process for the 2025 AES, the
          Co~ion!' as hea,d qf the procuri~g entity, .c~rm0,t review the
          qualifieaticms of Smartmatic. The procecf.ural .infirmity Qf the instant Petltlpn
          ·must be pointed out.

               The governing law on procurement-related subject matter is R.A. No.
         9184 ~nd its corresponding 20'16 Revised lmplementh1g Rules and
         Regµlaticms (2016 R-Pffl). On the is~tte qf quaiification of bidders, Sectipn
         23i6 of the 2016 R..JRR- explicitly grants the relevant proturing entity the
         -authority ~o ass~ss the quaJificaUo~s. 9£ Ii bfdder at any jµnc~re· duting the
         procurement protes$, ptovfded there -are reasonnble. grQtmds to suspect
         misrepresentation by the biddel' or a ·change in the bidder's capacity to
         undei:-take the project $in~~ the submi~sion of eligibility regu~~ments.



         ·ii Ip.
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           E;;!l,1'. No. 23"°-03                                                                              P.ilge1Dof17'
           E11·Biz,ic l{e~~f,ii:ion

                       This provisicn und~cor~ the Pr.0,c:urmg Enttty's ·-right to .¢x~e a
          bi4deri$ qualifications at any phase of the ,procutement process; ifrespedive
          of tit~ 1:>idd¢t'~ ~tial eligibility. Notably, the rigJ,t~pmerr~d by ~on23;6
          becomes effectiv~ when a specific project ha~ 'alre~dy initiated th¢
          prQc~e,n1et1t pro<;~~, ~pecially when bidders-have already submitted the
          nec¢ssaty doCQinertts t9 e~bli$h their ¢ligib,ili"ty.

                  Verily~ .,tt the ~ of filing or on 15 Jµn..e- 2023, 11either the Commissi<Jn
          nor the Special Bids arid Award5, Coitunittee for 20~ AES (S~AC) fpr the
          2025 AES po~sessed jurisdiction as the procurement process had not yet
          cornrii,enced.
           .    .  .        , ... ,




               Ho~ever, on ·13 Nov~mber 2lr23, the SBAC conducted a pre-bid
         conference, matkittg the irtiti~l phase ol th~ b~_cldhlg process Whi.~h gave
         SBAC the power to review the eligibility of all bidders~ The pr.e,,.bid
         <!pmeren~e serve$ a$ the inil;ialfprµm for dis~usi;;ions petween the ProcuriJ;lg
                                                                           "                                                  '



         Entity's repr¢serttatives ~nd eli8ibl¢ bjddets,coveting various .isp~cts t?f u.i~
         ongoill,g procurement.1°

               _       Four (4) entities~ indudiqg Smaitmatic, manifested their interest to j(.)in
         the .c;:Qmpet:itive l:>iddb:tg.

                Since the holding of a pre-bid conference for the 2025 AES; the- SBAC
         assumed jurisc.:li¢tiop over m~tters relative to the procurement of the 2025
         AES, 'including those that pertained to the quajjficatiort of all prospective
         1;,idders. It must be m>ted, however, that the. 'SBAC does not have the
         authority to, rea<iily c:J~c.ic;l¢ -~n the qia~lificatio,11 or disqqcllific;aticm of th~
         prospec.tive bidders pursuant to the procedure laid down in the 2016 R-IRR
         of RA NQ. 91~.

                       In NPM No. 104-2017,?1 the Government Procurement Policy Board
         (GPPl3) clarified ~ t a bidder may qnly be disqui1.Ufiti!d dµrmg Eligibility
         scteeniitg, Bid• Evaluation and-PQst Qualifi(ation.       :rclev~t provi$ioli6n,e



         111   ¥.~on                                                           or
                    221 ~~i~ ~~¢,Ur.n,plementinif ij~le$ and Renu.la,tj~~ R¢pubJi~ Ai:t ?-il(i, 9184:
         11 ~9. Pcc:ein~r 4017, a~cess.il,1¢ aJ btt1,'ls: // w,,"'•.g.ppb.gov~ph/ WP.:f.i,n~nt/ uploads/ 2023/06/ Nf'M•Nm•·
         104,.2'U7...pdf lasfac~~d-<>n 23 Navemoli" 2()2,~.
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          l!.M.No.23..()03                                                                                            1'11g111l ofi7
          E,, Banc lksl>lutiim

          under the Revised~ pf th¢GPPB R,.des at¢ Sectio~ 23, 12 3Q, 113214 atilf 34,15
          respectively. Expounding the process of disqualification., the GPPB stated:

                   "Dµring Elimbility SCJ,'~~riilig, we expJaint'!',l ~t tb.e ~1,l_bmission of the
                   eligibility documents enumerated in Sectic~ $..1 pf U1~ 2016 lRR i.s c'.I
                   mand~tpty reqilire¢ent Jhat inui;t be t~mplled v.Jitlt by ti1l'l prospct:tivc
                   bidders, such that failure to subn\H any of the doc.ume1\ts m· the
                   $ul,inijsi~ '9f ~n .o~rwise• hlct?mpl,cte Qt pa~ently in~ufficie11t d1:1cm11unt,
                   will disqualify the bidder based on the discretionary ;'pass/ fail" criterion
                   und~iSettionao,1 of the IRR,

                   On the o.tliethand, disqualuic;ation dµ:ring the p.relimin@ry fxaniinatfon t,r
                   bids provided under Section 30.1 of the 2016 IRR of RA 984 may iic when
                   the B.AC checks the submitted doc~,ments qf .ea~h bidder against thci
                   checklist of required do~uments to ascertain if they aTe-all present, usi.ng
                   a rtt>n~r¢tionary "pass/faWr cri~~rilli\.,~. ~¢:tiqn 30.2 ·of the 201_6 JR~,
                   vests upon the authority to determine each bidder's compliance with the
                   r~quired docinrient:$ for purpo~ qf eligi"ility.

                  S¢ctibn ~2~.~ of the ~evlsec.i l~ij, IU~¢W~¢ pttjyJq~ that tlietot~I bld pric~s
                  ,as evalµated and corrected Cot· computational error shalJ be ranked in
                  •asc~tdhig•0-'der; and fho$1i ~hat ~,-:ceed~the ,A~C ~haltl?e ~isqtialificd.

                  Di.1;qualifk:ation quriilg _the Post-QuilUfiatt~¢n s~~ i$ ~QV~r~~i by SecUn1,
                  34 of RA 91$4 and its 20i6 IRR. The objective of the post.;.quaiilication is to
                  .d~tt?r.mih~ wh~t4¢r tlie bidd~r ,ton,:-ipli~s With•and is ~ponsiw .to all th~
                  reqµirem~ and conditipns specified in the bidding documents. During
                  the post qua.uficaµQn; the BAC verifies, 'Validat~ aNI ;;t."1t:Crtaii,s nu
                  staJente~~·ma(Je a.11d li~~ments submitt.<?d by the gidder with the lowest
                  catcutat.ed bid (La) ot highest rat~>d bid (HR8, ·ai; the tase may b~, usirig
                  non-di~cr~tipnary pai;;s/f~il criteria.

                  T1,¢i;l;! ¢teri~ .shall consi~cr       tho l~gal-: .teclttilcal; and fim:mdal
                  requitemerit. ... Heike, the verification under.the post-'qujtlification stagl~
                  is rtQt U.smte4 tQ-~?(amiru•ti~ln of dpcument.~ ~1,1~in.itt~4 by the ~idi.ler; but
                  also includes inspection <>I the subject equipment v&.,.ii:..v1s the technkul
                  spedij¢tiops s.p.ecified in th\! bidding dc,cumenl$:'

              A careful r~view Qf th~se pr(lVisions                           ,vm
                                                      ,s:t,.ow that at this stage of the
         procurement process1 the SBAC for AES 2025. is c:011strained to refrain from

         t; Sodion 23, lillgibllity Requirements for lhll Procurement of GQOds and lnffa!lttu~tun.• t•r(IJC.bi. Full
         provision Is a~sU,le ~.l httrs:{./www,m,1111;,i:liv.1,hl\\'Mtilit(illt/uploads/2(1J,V.!!V..!l!ltfolt•d•2016-
         !fovji,L!il-11Ht-ttf-RA-No'..:.91S.J.;;n!kjf-03,fuly-ld2=1Jlc..l~ las~ ~i,c~~!l¢~ 6n Z4· Npvcn1~~r ~i.Ji:1.
         n Scclion 30. Preliminary Examination ol Bids, Fiill provision ii. m:c-C!ssible al
         hu1,s://,vww.gRpligov.phlwp•conte1.!!LJ!n!oacli-if.202.V07/UgdaWi.t;.2016'=:,Ifovlsijd•IRl~~uf-l{b.:.~oA)lS4-
         •L"Nif.t'~-July-2023.pdf; lasha:e.~ecJ un al N~vemb11; 2()23;                            •    •             '
         14 !Wctiun 3~ Bid Ev~\}nlic:in for th0 Prncunintc,nt of Gqo_ds itnd lnfrastn:icture l'rojl'.'liS, t•ull pmvMon is

         llCCC!l$ihle .at http~tL iw\v:w.gju,b.gov ,J1.t,}~l-ml\h•1,U!!.1lJiti:lds/ 2(12~/ (lUU fld11tmi-1(!1.<1:Ht·x!B1!:.1 Rlt-of-
         l{A-No.,9184-ns-of..rij;.JuJy-2023, pdf. fast occt•simd un 2.1 November ~'023~
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          E.f\tNt;,.2.3-()03                                                                    l'age12of17
          f,n 11,mc RtsP111t11m

         passing up.on the matter of qualifkati()hs ofJmy ~,otertU~l l)idder, tm;lu:c,.'ljng
         Smartmatic. Ac9ordm,g tQ, the :2025 AES' timeline of procurement activities,;
         the ¢pehilig of biciE; ~ scl1¢duled to 1:?e.<;pnclt1cted <ln i~ P¢:c.~m~r 2043.

               Mpreover, th~ blackHsting 0£ Siriartmatic ca1u1ot be insist~d on
         reaardles~ if the action is durihg the procurem¢nt ~tase or co11b'.~t:t-
         implementation stage because of Petitioners' non-compliance with the
         pro:~dural rules for bladclisting l~id 4own u.nder the 2()16 :8-1.RR .

                  UJ:tder Sedic:m Si(L<>f AppendiK 17 of .the Revis~ ~ , the procedu.re
          fot hiacklisJ:ing duiirttt th~ implemerttati<:>i'l stag¢ is c1sf9llQW,,:

                  Any bidder/pro,p~~\•e bidder or duly authorfaed observer·may initiate
                  tl\e bJ.;iddistmg p#ic.E1eging~ by filitig_~ Wrilt~n comi,la.int With th¢ B(dR arJd
                  Awards-Committee tBAC''); The BAC may also mol'u proprio (by itself)
                  tj)tn~en(e the·p;·~~$ 11p,,n pri~Ja¢1¢ (~lf~suffidentl,determinatiun
                  that tht! contr.attor a$·~ bidder or prpspecf:ive bidder has committed any of
                  the gt()Un~s for·bi.a~gi:lur{ijg t:ht? PJ'O.CIJi'eniunt ~ge.

                  At ~h~ optipn ofth¢ pr~uti.hg entiti~4 .il l'e~briaµJe ft-e may~ r¢q~1ii'e~ for
                  Wtiating the b~¢14:!stittg p:roceeding~;

               Oil the Q,th~r lwtct; und~r SecµQn :6~ of Append1~ 17 pf th~ R~vi$~
         IRR" the procedure forblacklistit,g during•flie cbntract...impl~menta tion .stage
         i$ cqmroenced by ~- writ:re.11 nQtice c,f ~'l~'iie~4 of the Ptc;,cµ:rlng Entity tQ the
         ,contt~ctor, up~m 1'¢<:otnmen,l~tion by th~ 1mpl¢mertting l)nit.

                  Up.on inquiry t~> ~11d a~ cpnfitmed b,y the. PMO~ 119 susp~n.sion cllld
         blacklisting proceedings are pending ot initiated agaitist Sn.1artinatic in
         rel_atic;m to the projec:ts it proyided for the 2022NLE for purposes of pm::suing
         tlte .aaµqrt ~uring t}:i~ cQl,'ltr~t-i\nplernerttAtion st,ag~J an.ti fo.r the bi!;ic.iing for
         the 2025 AES as regards the blacklistirtS of Smartmatic during the
         p~o.~ement proc.es~.


         Tlze Ccm1111issio11:, in t1,e exercise of
         its ple,1-ary powers, may di$q11alift.1
         a      po.tt,,tial     bidder      from
         participntiitg itt its proc1ite11umt
         prpces$es
Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 63 of 75

          RM. No. ;n;ooa
          E~ B1i1ri: ~t1l1ifimt

                 Separatf?ly, however; to the power granted to the Conimi~s,ipn (EN
          B~nc) as the Procur4tg Entity under relevant procurement laws, Sec. 2 (1) of
          A.rticle IX pf the 1.987 Q:,nstitution gi:an,ts upon the Commissi<>n the bJ;'.Q~d
          power to. ''enforce and admi.rlister all laws and t~gulati9ris r~lative t~ the
          conduct o( an election; plebiscite, initiative, referendum and recall. 11

                   1n a plethora of casesi 16 the Supreme Court has repeatedly held that
          there can hardly be any doubt th~t the text ~lld intent of this constitutional
          provisio11 is to give the Commissk>il all the 1tece$sary and indderib:\l powers
          f<:>r it tQ a~hieve the holding of free; orderly, honest, peacefuJ and credible
          ¢lecJ;io.ns,

                Verily, the Comnd~ion w~s~eliberatelyconstituted as a separate and
         fudep~dertt l?ody from pther 1'1iancltes of gov~riinient in order to ensure the
         integrity
              .    ofour electoral processes. It occupies a distinct place in government
                        .                                                                                                  .


         as th.e constitutional bQdy charged wHh the adn1inistratinn of our election
         laW$. For this reason, the Constitution and 0lJr laws granted it pow~rs aoq
         independence in the exercise of 'its powers and the discharge of its
         ~pnsibiliti~.

               ~ · task of en~uring electoral integrity nect.~ssari)y includes
         P1airt4tining the pupli~~s ~onfid(?rtc~ in the electi<>.ns. T<;> d h;d1~rge this duty
         completely and effectively, the Commission should also assure the public
         that this qbligation S;?~b,?nd$ to its partners.

               As early as October 2022, the Comthissioi, (En Banc), through the
         DepEtrtm:~nt. of Ju~tice, received requests· for official documents relative to an
         ongoihg investigation from the United States. gt)vernment agail1$t (~riner
         t:OMELJ!C ChAirm~ Juan Andres D. Bautista (Bautista) aild other
         imiivid~aJ~ and entiti~s for violation of U.S. crimh,cll Jaws.

               J>ur~\lant tc, the tr~aty ~twe~n the Government of the Ph,ilippines and
         theGoverrun~ntoftheUnited States on Mlttual Legal Assistan~e in Crimina1
         Matters (PH~us MLAT), an investigation was conducted for the alleged
         violation of U.S. criminal laws; in~htding the Foreign Corrupt Practices Act,
         conspiracy, wite fraud, and money laundering. Thf? U.5, pr.0.s~cutc>r sougllt


         1.6 IJi?d~h, Cin.~m1i.11.i;io11 r;til tlrcfi,1!11~, C.R. Ncl; 17983(1,   m l)f't'tlll/l~f 2009.: .-m,,x /,,)11!1.II !I Cm11mi/,~fo11 ,,,i t:.k·ttir~11:i;
          G~,Nf,, 13~676; 1.4 April 19909.
Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 64 of 75

          E.M.No,~'                                                                   Pa$e 14 of 17
          e,, bam: ~liCJ~•
          assistance in obtaining official ·recQtd.s_ front the Commi&~i<,11 as part of th~
          e.fforJs to establish a c~e-                                            '

                The evidence reques«?d is deemed trudal for trackh1g the fJow of
         sµsp~ted bribe, paym~~-~d id,.mtifyi~g other in~ividuals itwoJved in th~
         all~ged scheme.. It is nc>.teworthy that Bauti~ta.~ Who s~tved as the QJ.,itirma.n
         of the Cotnn'lissiont was formally charged in September 20~, in connection
         with .allegation~ ·of re~eivin,g brib~s in e).(cl1ang~ !Qr awardjng c1 contract for
         election mad,ihes to Smaf.ttnatic Corp. Bautista arid others .ate alleged to
         1,ave latm.dered the l,ri}:,e 1noney thrm.1g!1- n1wtlple enUties. lt was revealed
         th~tnau~sm. ¢sm.~li_shed~foreign sh~U c9mp~ny, whh:h w~suse-4 t<) teceiv¢
         bribe p~yments from Sinartinatic. The cnarges against Sinartmatic and
         former Chc1ir-ma.n B~u~ta art:! of pubH~ ~nowl.e!-1ge and tend to cause
         speculatiQn and di.stttiS.t m integrity of ~he ¢Jtt:tQtc:.tl pr()c¢$.s.

                GiV¢1'.1 the gravity p{~Iegation§ relalf!cl tb b1_·Jb.ery and t:<>P1Jlf9miseti
          ptocureinent processes, as independently detem1ined by foreign hodJes, the
         C9~~icm recognizes d.Je Jmmin~nt threctt ta the strength and integrity of
         our demo.p-atic protess.e$.     m    light of the$e· findings, th¢ Cc:nnmissiQn
         acknowledges the itnrilittent p.eriJ to the integrity and robashiess of our
         de111o_ptatic insl1t-µ1;ions. 'n1~e aUeg~tiQtµ,,; n9t qnly unde.rmin~ ,Ang C6St a
         shad-t>W over the pr6rur¢Iti~Jit pro.totbls b.ut aJsa. threaten to. ~rc:>de th~
         public's confidence in th~ elector@l system. Consequently, pursuant to
         adm.inist;r.~tj ve ppw~~ 1\'11~ch q,ver all as.pf;?~ of election, th, Cgmmissipn
         is compelled to take decisive action to disalltlw Smartnmtic from
         pijri:icip~ti11g in the p1:ocµren1ent proces~ forthwith.

                Moreover, the Commission· finds it irtipetative to refer the nia tter to
         th~ SBAC for pQSl?il'>Je perma11en~ disquali(i(;alion and bl_acklistin1; of
         Smarunatic from all .govertunent pre¢tt~emnt pro,;¢~ding~, n.o.t ju,t in
         relaµon to electio~. This critical step reflects the Commissionjs unwaveiing
         ded.icalio11 io maintautiug the s~mctily of Q1,1r elecUons anc,1 ems.udng th~t
         each comptuie1it of the electoral prb.cess, especially its partnerships, upholds
         the 1µ.ghest s~ndards of transparency and in~grity.

               The· Commission (En Barte), in pursuing the 111stant course of actkin,
         recognizes its d\,l.ly to uphoJd th~ integrity of elections_. rt cannot overlook
         the sen:ou$, unrest>lved alleg~tions c:)gainst Smartmati&; related to previou~
         elections. Although these allegations, stemmin~ from hiddents potentially
Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 65 of 75
  .I   ~

            E.lvJ, No. 2..1-00,                                                                                         Page 15 of.t1
            El/ Bi111, Reiralr~lirm

            spanning at le~st three eie<:tion:'.cydei:;, have rtQt be~Ii condus.iv~ly Pr9V~,
            theh- gravity and potential to damage public trust w,frrant fhe Commissiod
            (Bn Ban(;'s) prQ~ct:ive m~~µr~ t9 ~fegµard the int~grity Qf JI.leqti.QJ:~ ~cJ,
            democratic institutions~

                 To be cl¢ar, the C,o~io.n (En 13~11~) caiegori<;ally states that nQ
           in·egularities attended the conduct of the 2022 NLE. 11,e .allegations "t>f
           PetiHQners pertaining ·~ the alle~<;l consistency in the ratio of ~~mitted,
           results, the use of single 1P addre$S, and alleged discrepanci~s in the
           transmission and eleclitin returns have.been sufficiently addressed by the
           Commission ~t leng~h.

                  In fact, apartfrpm the ~~cc~s.sful conduct of the Random ManuaJ Audit
           attendep hY inqependent o~$~rversand.accredited pp!itic~l parti~s ~howwg
           the consistency iri the results, arid the observations by accredited citizens'
           arms. 17 Petitionel'$ til~n,~elv~ admitted that the parallel count conducted by
           .the Parish Pas.to:ral qouncil for R~pp,11sfbJe Voting (PPCR,V) m~tdied th~
           transmitted results. Nevertheless~ the Commission js con11izant that issues
           tru;ting doubt on the ver~cify of thg 2().22 NLE results und~JlUlle Qur
           democracy by eroding public trust and. confidence in our electoral proc¢f;Se$~
           the Commission will do everything necessary and within H:s power to
           d¢mpnstr'1te its .c.ommi1:ment tQ .~ectQral integdty fln'-1 fu JI tl'an~p!"Tert~y,.

                   Rega,rding the prayer r,f P~tinQners. fo,r th~ Commis~fon tQ p9st 1n its
           official website the List of Votfi Couhting Machines (VCM) Tr.ans.mission for
           the 2022 NL~ coJ,"rob.orat<;!d by the telecommunication companies1 Call Detail
           R~cord (telco's COB.;), it beAr~ nQt:b)g that the r~q\le$t ht1s 1;,e~n mqqted ~s the
           Commission has already uploaded the telecbmmutiication prov:ider logs ih
           it:s official w~J;>site-,~s c.,f 6 $~p~eml:>er 20l3; 111erefore, the s(.lm,e has b~en
           made availc1 ble to Petitioners and the'liubtic.

                 Still purs1.1ant to its ~q~tittitional niarufotl~ to decide a:_11 mattets
           af(ectirtg electi_o.1151 anc;I in line with i~ (.ommitment tQ tra~p~~ni;y, ttie
           Commission (En n~~) du,ring thE? 17Oc;tpber 2()2., hearing 1s stated tl1at it

           I~ .Sri, "NAM.Patm~ Final Report; 2022 N~ti~nal ,md Lo!.111 Ulections/' p,1bUshed hy t11e National Citizens
           Movoment for. Fret.!. ~lec'ticms (NAMPREL); published on 1~ August 2022; last m:c:essed cft
           l.!!!p,_;/1-11llmfr~l.oi-g,1d1/W22/filt-s/NAMFREt.'%202022'J~2l.lN_!,J.1,~~t7.0HJ\l'<"llfl''';,201111 NALJk._ZllDlGJ'l"AL}.
           t!Qf ot\ 23 NoWmbcr 2023 and Lethtt Addres~ed to Ct1ordila11tor 111111 Vt1l11111iitri: of t '1e. Pa risl1 Pastoral Council
           ror          R('l>lpo~ibl~            Vi:,ting.     · d~ted      29       •Au1~ust     202..lJ,  last       atces,sed    at
           hU1,s:f /1\'\Vi.v_~cribd.rom(dotulnertt/6686i8029/A,) cJU',,il/tJ:i::Jm.l!".:.!!!1..1~V-n!il1.1l'!_tj~'i:figging~Ja1n1s-
                                                                        1


           l!.":ilJil~hinllnt1.!dl#ifowntoad&fi:oin ep\ped 6rtZi Nov~mbe1· ~02.,'t                       •          •·     .••
           Ill Tri1il$trt1j,1 jif Stti1111grapl1iC' Nok~. ~it il:ilridie~rinti 17 ()r.l"b~f 2023.
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          H.M. No. 2.~03                                                                            Pag<!16 df17
          1-:,r Jlnm: ,W50l111i1111

          inay authorize ~ re¢ount by dpenirtg the t,~Uot bqx.e$ pf every region hi the
          counb"y upon Petitiqner~;' instance:,, co115idering that the mofit r~liable
          evid,m~.e bi an ~1.¢<:tic>n is typi~lly the ball<:,1$ thel'llselves. This process,
          incidental to the ConmussiQn1s. m1$si.on:, aligns with the public int¢rest and
          the righl to information in ajI µiatters relating to the el~tion. In.the landmark
          case pf CJ,m,ez t>s. (;;PilZtiles, 19 the Supr~.me Court ·t,indersc~Jred the
          ov~nvhelrnb1g right and n~eg ~£ the publi,; to be informed of m.atters
          concerning el~tions, by stating:                ,1



                    The right of the people to 1¢~w ~tt~ ~rta.ining to tJ,e integrity of the
                    clecttion process is of paramount importance. It cannot bu !Illieswiped by
                    the n)ere sp~~ulatlon•that a p'Ql;>li~ tjisturba.;nce wit! ensµ~. Elcctjon is ~
                    sacred instrument ofd~ocracy. Through zt, we chot)St~ thc people who
                    Will goyem us. W~ ¢riij°U,$t tQ W..enl .~µI' b.µsin~scs, l~lir Welfare, 1;1pr
                    children; our lives~ Certainly, each one of us is entitled to know how it was
                    cpni.iuc,e{t. What ,;ot.tld ~ .ntQre ~i$lieart¢t1ing UlAn t.o l~arn that th¢rc
                    exists a tape cuntaining conversations that compromised the hltegrity of
                    th~ ~lt.ictil)n pn,c~s. The 9pul# wm  f9t~ver h.µtg qv~r ~~ur h~nus, Jf~l~~lhtg
                    whether tl,ose who sit in .g9vemmcnt are legitimate officials, In matters
                   such as the~e, le<Jvirig thEfp~ple in d.arKn,ess i~ n<1t '-'" altcr1it,tiV~ co~hiti,
                    (Citlltions omitted):

                The C()mmi$t1ion (En Bancl:~hall, µpon mqtion,,~µthuri.zed ~ r~c.9tµrt,
         utilizing for the said purpose either the p!1yska1 balfots cii· the ballot .itrt~ges
         which are the fltTTctiollal equjvalent of the physical ballot, at no cost to.
         :Petitioner. Thi!J.is c:qJi$i5-t¢nt with th~ Qqmmis~lon,(En Banq)'s ct,mmitineni
         to uphold fair, orderly, ·and honest elections and to pursue all avenues to
         strengthen transparency ii1 th~ co:Qc,it.:u;:t Qf ele~~ons,

                WHEREFORE, premises consideredr the Commission (En Ba11c)
         hereby RESOI,.VEJ:> tQ. ~RANT the Petition. SJ\,fARTMATJC
         PHILIPPINES, INC. is DISQUALIF1ED ANO. DISALLOWED from
         participating in any p1,1bUc;: l;>iddmg proc;ess for electionst in the exercise of its
         adtninistrati\'e power to decid¢ all matters afft?Cting eleclion and in pur$uit
         of its constitutional ma:ndate.

                FURTHER, the Cortunissi◊ti (E1t Banc:) hereby RESOLVES that in th~
         exercise of its administrative powert itri1a.y, upOJi Petitioner's instance, order
         the conduct of the recount of µall<>..ts in areas in every region in th~ country,
         the pr<>cedure and extent of which to be determin~d, and ~t ne> cos,t t<>
         Petitioner.
  ,. ,
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                  E.M. No. 23-003·                                                              Pagelhf11
                  E,1 B,mt Rc.~ahilimi



                       SOORPERED.




                                    Commissioner
                              tvifA "f'~ ':J11MP'
                                     ~'
                               AIMslQ.: ~LJ!jP
                                         Commissi,,me,·



                 Ji. ·_   4
                              TO         _ ·. _·    ....
                                          Co11m1is~#o11er                    -Cim1111issioner




                                                          CERTIACATION

                        l hereby certify that .the conclusions in the abov.e resolution were
                 reached in consultation amoqg_ the meml,et~                         • • • • _n En B,,nc)
                 t,efore tl1~ case was assigne.g t<:> the writ o - . e opin ·: •.' ' •t 1e       -




       ~ \ v· ' \ \\
  r ..t ,         \\
Case 1:24-cr-20343-KMW Document 7 Entered on FLSD Docket 12/11/2023 Page 68 of 75




                                            R~p1d>.lic of the PhilippiJt~s
                                          COMMJSSlON ON E.LECTJONS
                                                l11tramttros, Manila

                                                             EN BANC

             IN_THE MATTER OF TUE PETITION                                        EM Case No. 23--003
             TO REVIEW THE QUALIFICATIONS
             oF sMARTMArrc· PHitti>PINE~,
             JNC~1 AS A PROSPECTtVE BIDDER
             IN VIEW OF ITS FAILURE JN THE
             2022 ELJiCTION~ ro C.OMPLY WITH
            ·CERTAIN      MINIMUM     SYSTEM
            ~:~:J~ITJES             Tf:J -~SiJL~:t~
            IRREGULARITIES   IN     THE
            TRANSMISSION AND RECEIPT OF
            ELECTION RETURNS ANO; IF
            WAIRANTED,                 TO        DISQUALIFY
            SMARTMATIC                                       FROM
            PARTICIPATING IN THE JJIDDING
            F'OR THE 2025 AOTOMATED
            ELECTIONS.YSTEM,

            6LlS.EO MIJARES      ~Q,       JR.,
            AUGUSTO CADELnQA 14.\GMAN,
            FRANKLIN FAY.L()GA \'SAAC, AND
            LEONARDO OLIVERA 0D01'10,
                                   Petiticmers.


                                                 ~EPARATE OPtNION

               The strength and stability of our democracy depend to a l~ge extent
        on the faith and confidence of our people in the integrity of the ~lectoral
         process where they participate as a particle of democracy. Tltis
        jurisp.rudential p(')}estar/as enunciated by Justice Del Castillo in Doromal vs
        COMELEC2, ts an immutable principle tbat we ought to uphold ih iwder to
        arrive at a jus-t resolution of the instant controversy.~
        1 In lhe Petition, m.-ny al".tlt he doing b~>s.i. qnd,•r SntJrbnal.i.cCorpo(dUon. Snu1rt.m.llic lnlerniilie>nid, iltuJ
          Sm~rtmatit SGOGrC111p.                                                .
        : Doromill vs Bir(ltt ~nd Ct,mnii,r;.sio:n o~ El,wtion.._, GJt No. 181$00, 17 fc,!bmary 2010,
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                                                                                                                       Pag_e2of4


               This Petition is hing~4 on the allegc<i seritJus irtegularities ¢mp.Joyed
          by Respondent Smarnnatic Philippines, Inc.3 ·on the AttJo~ted ij).ec~cm
          System during the 09 May 2022 National and L~ai. Elections (NLE).

                Backed by the result of the Random Manual Audit as well as the
         de~aratiort by the accredited citizens" arms, we ate unanimous in affirnlin,g
         the cre(libility C>f the con.duded 2022 NLE. Oh the issues raised in the
         Petitioil, I agree with the Law Department that Petitioners failed to
         sub.$t~ti~t~ the alleged irt'.egula.rities. As regards procedural rules, I concur
         that th_e Co.nmlissicm lacks j'Qtjsd.iction t~ djsqt.ialify Smartmatic Philippdnes,
         Inc., or any prospectiv~ bJdder,. ~l:?fore th~ submission {>f the eligibility
         doCQ111ents })1.ll'SU_ant to the ~016 Revised Implementing Rules and
         Regµ.latiqns Qf Republic Act No 1 91844 (IRR).                       -

                 In ac;cordance with the Uniform Gui<ielines on Bi_atjdistjng under the
         2016 R"'.IRR,5 a bidder may be prohibited from participating in the
         procurement process for a given period through blacklisting. this proc~s
         may be initiated motu proprio by the Bids and A wards Comnuttee during
         Competitive Bidding Stage upon prima fade (seH-sufficient) dete~tion
         that the contractor as ~ bidder or prospective bidder has committed any of
         t!1e grqpbds for blaCWistfrlg. During the contract implementation, the Head
         of tqe Ptoc.uring Entity shall irtutlediately issue a Blacldlsting Order upon
         t~rmin~tio~.pl th~ c~ntract due~ d~fa~lt of the contractor, disqualifying-the
         ~rr.ip.g cont:raGtQr frqm p~rtj:dp.ating in the bidding~              • -,

               I concur with the Majority th<lt th~ blac14.i$ting of Sm_arttnatic cannot
         be insiste4 on whether t11e action is during the procurement Qi' COfttract
         im.ple:mentation stage due to- Petitioners' nqn-observance o.f the
         aforementioned Guidelines. Surely, the pr9Ced1U"~ provi(Jed llI).der ~.A.
         No~ 9184 arid its IRR ate mandaroiy and cannot~ simply br~sfo~d aside l,y
         the Conunission.

              .It striltes me that a distant matter has been iritetjetted into this case. In
        d.isqualifymg SllUlrtmatic, the ttu}jority invokes ai, authority outside of R.A.
        N<>. 9184 and its IRR, and based their ruling solely oil the allegations and
        issu~s invc,lving former C:OMELEC Chairman Juart Anqres D. Bautista
        (Cha.irman B~utista). ~


        "Sllti Nute 1,
        The_ tonlt'.;Jds (1) Volt! Counllng Mnchin(!~ RefurbLo;Jummt wilh Coll!lumables (SBAC Hcfonmcc No.m.2020
          VQV.ll~C) .snd (2) 1,eu!lU cir :o~/OPSCAN Predn<:t Cc,unt~r with Sb Cards for Us<i in lhe 2022 NLE
          (SB-'\C ~~nc,! No. 1s.2021dMR) were awarJcd to SM MT-TIM 2016, Jnr.
        4 An Act Providinr, for thn l'vlodnrll{7.alion,:Sta11dard!:r.11Uon and Rer,ulaU01, of lhn Prllcurcmenl Adi,vil:k)s
           of the Gov~mmcnland f()r Other Purpos~.                                •
        :; _Uniform Guidelint!S tor Blni,i<li.o;tinp,. of Manufnrlt1r11n,, ·SuppU1!1$, PL'iti'Jb_.t,\l'!i! Contt'a,ct;c:itj. ·one.I
           Consullanls.                              •
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                  It may be prop~ to take into consideration the ctiminal case filed iii
          t11e·urtited States against Chairman Bautista on the alleged bribery relating
          to the contract . . with
                              -   .Smartmatic for the election m~cliines~ This ciI'cllillStarite
          alone, he>w.ever, .does not wc;1rrant ~ outrigllt ('Qnde~ti()n of pers<>ns_ ot
          entitjes iny<1lved in th~ -said foreign e:iimWd c$¢.Thi$ ¢Me is $tiU p¢n4hig
          iilv4?.stlgatjon, and there ls no suppor'ting evid~rtce 011 recQrd. ln~eed, the
          (;pmJnissfon may U,lk~ judicial notic~ of lllilttel'$ of public knowledge.; but we
        . m~t &-st "allow the p'1rties to be h~~q thereon/,.,

                   1n administtathre proceed~g~, su~h as this; dlle process demands· tha.t
             the adjudicati1'g body properly informs a party of the charges ag~in~t them
             ·and afford them the opportunity to present their defenses and supporting
             evidence, which it must consider in making its decIBion.-

                    To note, the Petitions dated lSJune 2023, Supplemental Petition dated
             29 Jun~ 2023, and Se(:ond Supplemental Petition dated 11 September 2023
             did nqt contain U,e allegatiort$ ofbtipery ag~nstStnarl::i1iatic. No evidence
             in reia.tipn thet(?tQ wa$. pr~mark.ed, :Q:tQt¢ sQ presentecf. or dis~ed duri11g
             the 17 October ~0-~ be~ng. The Qn.ly mention c,f-thi$ i$~t1e -w"s ftn,1n·d fiir
             the. very first time Jn th~ Moticm for EiilrlY ~olution d&Jied 03 October 2023
             of l'etitioi,ers and the singl~ pcll'~graph in the pr~t~ry stat(#ltl~rtt m
             Petitioneris Memprai,,.4:µin. It was hpwever peith~r cit~d as an arglllll,ept in
             the Memerandutn norilny document in support of the ~~nee and veraclJ¥
             thereof offered in Petitioner's Formal Offer of Evidence with Mani~station
             arid Motion dated 23 October 2023.

               In ruling against Srnartmatic based on an issue never properly raised,
         Respondent Srnartmatic was deprived ofits right to be-·properly notified of
         the allegations against i_t .and was not given .m opportunity to defend itself
         ~gclirtst thQse alfeg~tiQn,s~                                  •   •   •

               The disqualification pf Smartmatic was anchored upon the
        CQmmiS.sfon's bro~d. ppwer to "~nforce and c.1dminister all l~ws and
        regµ.latipns rebative t~ the cont111ct ,c,£ -an ele(:tio~, pl¢bl$cite, initialtye.,
        fefere1u:hun and recall'; under Sec.,tion 2(1) of Artic;:le IX.a.C of the 19$1
        Constitution. It is imp<;>rtant to no~ th"'t11nder Sectiqn 2.> Article IX~C::: Q~ 1;1:te
        198?' ConsHt\11:ion, the COMEl.EC exercises bpth administrative and qu~i-
        judicial powers. •

              In Bi,yta,i v. COMELEC7, the·Supreine Court differentiated be.t'\'\Te~n
        these two functions, explicitly stating that under Section 2 of Article JX-C of
        the Con~titution, subsections 2(1), and (3) to (9) are exercised under the;,


        ri   t--fon:er¢t vs ISoUos,.C.R. No.138~8,, 18J1mUllry.2(l02,
        7    G:R. No.153945, 4 f14,bruaey2003.
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  .   '
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           administrative functions of the COMELEC, while it exercises quasi-judicial
           functions in 1·elation to those cases enumerated under Section 2(2).

                Jt should be empha$ized that the Commission's administrative power
           under Sectipn 2(1), Article iX-C of the 1987 Constitutiot1; as stated therein,
           refers only to the enfQrc~ent and administration of election la,ws. Fpr this
           con~titutionctl pl'.ovision to~ validly invoked, th~re m~t be an el~tion law
           to "enforce" or "administer." Hen~e; the Commission, in the e~erdse of such
           power, cannot whimsicaily rule on apy and all election ma~rs l>Vithout ~ny
           basis ih Jaw or its own prescribed rules. This is consistent with the definition
           of its administrative adjudication, which is the power to hear and determine
           questions of fact to which the legislative policy is to apply and to decide
           under the standards laid down by the law itself in· enforcing and
           administering the same.

                  Case law further provides that a constltuti9nal prt;visip11 is nqt self-
           e~ecuting wher~ it merely annountes a policy cin(l its. l~gu~g~ pr,?sQ°ibes
           another mefl~ by wbicll the_policy !,hall be carrit?d into ~ft~t. In the case of
           ;\11g Bagong Bayani'.'"tJFW Labor Party v. t::OMEtEC8, it was held that
           where the law is "ht.terspert?ed with phrases like 'in accQr~a:r1ce 'Witll }ijw' or
           ;as n,ay be prpvid(d by law', then it is up to Congre$~ tQ sculplin gr~te the
           lofty objective of the ·constitution."

                 We value greatly the .faith and confidence of the pe·ople ih the integrity
          of the electoral process; thus~ we must afford them with the utmost degree
          of l)rudence irt all bur actions. It is iny submission that integrity is adherence
          to principles while being steadfast in the observance of the laws and rules.

               With .tlu.e deference to: the majQrity ;opinion, my vote is for the
          dismissal of the i~~t Pet:itioni




                                           AlM~INO
                                            i,Commissioner




          0 G.R. No. Ui'589, 25June2003~
          - - - - - ~---   -   -   -----      ---   -   -------------

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                 Andy Bautista
                 @ChairAndyBau

         I am surprised to ieam about a complaint filed against me. I have never
         be~n contacted by the U.S. Department of Homeland Security about it
         for comment.

         But let me be very clear. I did not ask for nor receive any bribe money
         from Smartmatic or any other entity. (1/3)

         7:20 PM • Sep 21, 2023 • 193.7K Views


         0 275               t.'l 1s5            0    963              t:) 33

                Post your reply                                                   l
                                                                                   '   ... ~ ·~--"--<-~-- ••




        •       Andy Bautista @ChairAndy!Ballll • Sep 21
                Be tlhat as it may, I am ready to respond to the alleged charges at the
                proper forum and time.

                The 2016 Philippine National Bections were haiied by various nndependent
                                                                                                         •••




                national and local election stakeholders as the best managed in om
                electoral history. (2/3)

                0 30             ti. 23           0   251           ulol   211K             A ,.t,
               Andy Bautista @ChairAndylBall.ll • Sep 21                                  • •·
               Moreover, the Plhilippirie Supreme Court voted unanimously (15-0) to
               dismiss an electoral protest that was filed in connection witlh the 2016 Vice
               Presidential contest.

               "Every storm runs out of rain."
               -Maya Angelou (3/3)

               0 45             ti. 28            0   343           clol 28K
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                   6 ) SMARTMATIC

        Statement Smartmatlc
        November 29, 2023

        Smartmatlc has not been notified of the decision and has yet to receive the official copy.

        However, Smartmatic expresses profound disappointment in the decision made by the
        Commission on Elections (Comelec) to disqualify Smartmatic from bidding on the 2025 contract
        for election technology.

        In its 23-year history, no Smartmatlc company has ever been indicted in the United States or any
        other country in connection with any election or election-related contract. This information is
        easily verifiable on the US Department of Justice website by searching 'Smartmatlc.'

        We urge Comelec officials to conduct this search Independently, and to show to the public any
        indictment against Smartmatic. We are confident there is no such indictment In the United
        States.

        Over the course of these 15 years, as we contributed technology and services to Comelec, we         r
                                                                                                            f'I·
        have consistently adhered to all their procurement processes during biddings and contract           1·

        execution. Our significant role has played a key part in establishing the Philippines as a global
        model for election integrity.
